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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


MARK ZAMBON, ET AL.,               )
                                   )
          Plaintiffs,              )
                                   )
       vs.                         )          CA No. 18-2065
                                   )
ISLAMIC REPUBLIC OF IRAN,          )
                                   )
          Defendant.               )
___________________________________)
AUGUST CABRERA, ET AL.,            )
                                   )
          Plaintiff,               )          CA No. 19-3835
                                   )          Washington, D.C.
       vs.                         )          October 18, 2021
                                   )          1:30 p.m.
ISLAMIC REPUBLIC OF IRAN,          )
                                   )
          Defendant.               )          Afternoon Session
___________________________________)          Pages 126 thru 268


                               DAY 1
                 TRANSCRIPT OF BELLWETHER HEARING
                BEFORE THE HONORABLE JOHN D. BATES
               UNITED STATES SENIOR DISTRICT JUDGE


APPEARANCES:

For the Plaintiffs:               Joshua D. Branson
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APPEARANCES CONTINUED:

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1                          P R O C E E D I N G S

2                DEPUTY CLERK:    All rise.

3                THE COURT:   Looks like the next witness is in the

4    box.

5                MR. BRANSON:    Thank you, Your Honor.

6                He has not been sworn in yet, so we thought we

7    probably would save some time.

8                MR. GOLDSMITH:    So I neglected to mention that my

9    co-counsel, Robert Cowan, who represents the Zambon

10   Plaintiffs, is also here today and he wanted to note his

11   appearance.

12               THE COURT:   Welcome.

13               MR. BRANSON:    So, Your Honor, Mr. Goldsmith, my

14   colleague, is going to present our next witness.

15               THE COURT:   Do you want me to keep these binders?

16               MR. BRANSON:    I think that's -- if you want them,

17   you can have them.

18               We'll take them back if you don't one them.

19               THE COURT:   We don't want two copies, that's for

20   sure.

21               MR. BRANSON:    Do you want us to take them back

22   from you?

23               THE COURT:   Why don't you take one back?

24               We'll hold on to the other for the time being, at

25   least.
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1              MR. GOLDSMITH:     Good afternoon, Your Honor.

2              THE COURT:     Good afternoon.

3              MR. GOLDSMITH:     Andrew Goldsmith from

4    Kellogg Hansen for the plaintiffs.

5              THE COURT:     Mr. Goldsmith.

6              MR. GOLDSMITH:     Plaintiffs call Dr. Colin Clarke.

7              THE COURT:     All right.    Mr. Bradley.

8              COURTROOM DEPUTY:      Please stand and raise your

9    right hand.

10             (Witness is placed under oath.)

11             THE COURT:     All right.    Good afternoon,

12   Dr. Clarke.

13             THE WITNESS:     Good afternoon, Your Honor.

14             THE COURT:     Mr. Goldsmith.

15             MR. GOLDSMITH:     Thank you, Your Honor.

16                                 - - -

17   COLIN CLARKE, Ph.D., WITNESS FOR THE PLAINTIFFS, SWORN

18                    VOIR DIRE DIRECT EXAMINATION

19                                 - - -

20                                 - - -

21   BY MR. GOLDSMITH:

22        Q    Dr. Clarke, where do you work?

23        A    I work at The Soufan Group.

24        Q    What's that?

25        A    Soufan Group is an intelligence consulting firm
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1    based in New York City.

2         Q    What sort of consulting does it do?

3         A    We consult for private-sector clients.

4         Q    On what topics?

5         A    Terrorism, insurgency, smuggling, trafficking,

6    disinformation, whole range of national-security-type topics

7    and issues.

8         Q    What do you do there?

9         A    I'm the director of policy and research.

10        Q    What does that entail?

11        A    That entails scoping out concept notes, looking at

12   research methodologies and planning out with our clients

13   what the analytic frameworks for these products will

14   ultimately look like.

15        Q    Do you conduct research projects as well yourself?

16        A    I do.

17        Q    Could you describe, please, your educational

18   background?

19        A    Yes.

20             I have an undergraduate degree from Loyola College

21   in Baltimore, Maryland, where I studied communications and

22   writing; master's degree from New York University, where I

23   studied international relations; and a doctorate from the

24   University of Pittsburgh's Graduate School of Public and

25   International Affairs, with a Ph.D. in international
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1    security policy.

2         Q      What academic positions have you held?

3         A      I've served as an adjunct professor at several

4    institutions, including the University of Pittsburgh,

5    Duquesne University, the RAND Pardee Graduate School.             And

6    then I've also been an assistant professor at

7    Carnegie Mellon University's Institute for Politics and

8    Strategy.

9         Q      What courses have you taught?

10        A      I've taught a number of courses, including

11   terrorism and insurgency, the future of warfare, U.S. grand

12   strategy, and terrorism, social media technology and

13   conflict.

14        Q      Have you held positions with think tanks?

15        A      I have.

16        Q      What?

17        A      I spent ten years at the RAND Corporation.

18        Q      What did you do there?

19        A      I was a political scientist working for a range of

20   clients, including OSD, Office of the Secretary of Defense,

21   and the intelligence community.

22        Q      What sort of work did you do for those clients?

23        A      Research on terrorism and insurgency in

24   transnational criminal networks.

25        Q      What are some venues where you have presented your
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1    research?

2         A      I've presented my research all over the world,

3    including at the U.S. Army War College, Air Force Special

4    Operations Command, the Society for Terrorism Research, and

5    the Counter ISIS Financing Group, to name just a few.

6         Q      Have you done any work in Afghanistan?

7         A      I have.

8         Q      What was that?

9         A      I was sent by RAND to work for Combined Joint

10   Interagency Task Force Shafafiyat, which is the Pashto word

11   for transparency it was a counter-corruption task force led

12   at the time -- led by at the time one-star General

13   H.R. McMaster.

14        Q      What did you do there?

15        A      Provided research and analytical support to the

16   task force where we were looking in particular at something

17   we called criminal patronage networks.

18        Q      What was that?

19        A      That was the confluence of Afghan government

20   officials, Taliban insurgents, economic power brokers,

21   warlords -- all involved in corrupt activities, including

22   drug trafficking, money laundering, you name it.

23        Q      Has your work over the years involved classified

24   information, Dr. Clarke?

25        A      Yes, it has.
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1         Q    Does your opinion in this case rely on classified

2    information?

3         A    In no way.

4         Q    Are you affiliated with any academic publications?

5         A    I am.

6         Q    Which ones?

7         A    I serve on the editorial board for three of the

8    top academic journals related to terrorism:        Terrorism and

9    Political Violence, Studies in Conflict and Terrorism, and

10   Perspectives on Terrorism.

11        Q    Is any of your own writing particularly relevant

12   to the issue in this case?

13        A    Well, the first book that I wrote was called

14   Terrorism, Inc., The Financing of Terrorism, Insurgency, and

15   Irregular Warfare.    And I have an entire chapter dedicated

16   to the financing of the Taliban, as well as dozens of

17   peer-reviewed academic journal articles, policy reports, and

18   smaller op-ed-type articles.

19        Q    Dr. Clarke, what did the plaintiffs ask you to do

20   in this case?

21        A    I was asked to provide a history and overview of

22   the Taliban, including its organizational structure, the

23   relation -- to describe the relationship between Iran and

24   the Taliban, as well as to judge whether or not the Taliban

25   was involved in certain attacks.
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1         Q     What sources did you rely on to do those things?

2         A     I've relied on a number of sources, both what I

3    would call primary sources and secondary sources as well.

4         Q     Can you give us some examples.

5         A     Sure.

6               Primary source documents, including documents

7    released by the U.S. Government, the Treasury Department,

8    and Congressional Research Service, Department of Justice,

9    et cetera.

10              Then for secondary sources, newspaper accounts,

11   think tank reports, journal articles.

12        Q     In your experience, Dr. Clarke, how did those

13   sources compare to the ones used by other scholars and

14   analysts doing this type of work?

15        A     Well, over the course of my career and in my roles

16   for these various editorial boards, I've been able to

17   discern what the most rigorous and analytically reliable

18   sources are.    And so I consider the sources used for this

19   report to be among those.

20        Q     What did you do, Dr. Clarke, when sources

21   conflicted?

22        A     I always attempt to triangulate.        And so I compare

23   primary sources with secondary sources, with sources that

24   I've gathered throughout the course of my own career that

25   I've used for books, with new sources that I've then tracked
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1    down.

2         Q     Did anyone assist you in your work for this case?

3         A     Yes.

4         Q     Who's that?

5         A     Research assistants from Valens Global.

6         Q     What is that?

7         A     Valens Global is a private research firm; however,

8    throughout the entirety of the process, I maintained control

9    of the information.

10        Q     Dr. Clarke, are you being compensated for your

11   work in this case?

12        A     I am.

13        Q     Is your compensation dependent on the substance of

14   the opinions you're providing?

15        A     No.

16        Q     And is your compensation dependent in any way on

17   the outcome of this case?

18        A     No.

19              MR. GOLDSMITH:     Plaintiffs offer Dr. Clarke as an

20   expert witness in Middle Eastern terrorism.

21              THE COURT:    Dr. Clarke will be admitted as an

22   expert in Middle Eastern terrorism and may offer opinions on

23   that subject.

24

25
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1                             DIRECT EXAMINATION

2                                   - - -

3                                   - - -

4    BY MR. GOLDSMITH:

5         Q      Dr. Clarke, you have a binder in front of you.

6    I'd like you to turn to the tab labeled PX-2, which is

7    Plaintiffs' Exhibit Number 2.       It should be the first

8    exhibit.

9                What is that document?

10        A      Sorry.   PX-2.

11        Q      I think you're already looking at it.

12        A      Oh, just the opening page?

13        Q      Yes.

14               What is that?

15        A      This is my expert witness report.

16        Q      Does that reflect -- accurately reflect your

17   opinions?

18        A      It does.

19               MR. GOLDSMITH:    Your Honor, the plaintiffs offer

20   Plaintiffs' Exhibit Number 2 in evidence.

21               THE COURT:    Plaintiffs' 2 will be admitted.

22                                            (Plaintiff Exhibit 2
                                              received into evidence.)
23

24   BY MR. GOLDSMITH:

25        Q      Dr. Clarke, when was the Taliban founded?
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1         A      The Taliban was founded in 1994.

2         Q      Where?

3         A      In its traditional homeland of Kandahar, in

4    Greater Kandahar, Southern Afghanistan.

5         Q      Who controlled Afghanistan at that time?

6         A      In the mid-1990s, really nobody controlled

7    Afghanistan.    It was in the throes of a Civil War, following

8    the decade-long intervention by the Soviet Union, 1979 to

9    1989.    It kind of then devolved or spiraled into a contest

10   for power among competing insurgent terrorist groups.

11        Q      What was the Taliban initially?

12        A      Initially, the Taliban was a group of madrassa

13   students that studied in madrassas in Pakistan.

14        Q      What did they do?

15        A      Ultimately, they became a vigilante force.         Their

16   claim to fame was chasing down some individuals who were

17   accused of assaulting young girls, finding the individuals,

18   murdering them, and hanging them from the turret of tanks.

19        Q      Did the Taliban work with any other groups in

20   Afghanistan in those early years?

21        A      Yeah.    The Taliban worked with various Mujahideen

22   factions, most prominent amongst them the Haqqani Network.

23        Q      What was the Haqqani Network?

24        A      The Haqqani Network was probably the most powerful

25   insurgent group operating in Afghanistan and Pakistan during
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1    that time.

2         Q     How did they and the Taliban interact?

3         A     The Haqqani Network provided muscle, if you will,

4    or manpower and resources to the Taliban.         The

5    Haqqani Network being closely related to elements of

6    Pakistan's elite intelligence services, the Inter-Services

7    Intelligence, or ISI.

8         Q     What did the Haqqanis get out of the relationship

9    with the Taliban?

10        A     Ultimately, the Haqqanis would get access to

11   political power when the Taliban took over.         That would come

12   in the form of several seats on a ruling council as well as

13   access to financing.

14        Q     When you say "a ruling council," what do you mean

15   by that?

16        A     So later on, once the Taliban actually established

17   its insurgency, they establish the leadership council,

18   otherwise known as a Rahbari Shura.        So they get two seats

19   on the leadership council, as well as access to funding and

20   financing.

21        Q     What were the next significant events in the

22   development of the Taliban?

23        A     Well, in 1996 when the Taliban takes power, that's

24   the same year at al-Qaeda, Osama bin Laden's group, is

25   expelled from Sudan and returns back to Afghanistan where it
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1    strikes up an arrangement with the Taliban.         The Taliban

2    provides safe haven and a sanctuary to al-Qaeda during this

3    time period.

4         Q     Why was that significant?

5         A     I'm sorry, can you repeat that?

6         Q     Why was that significant?

7         A     It was significant because this was a

8    transnational terrorist group which now all of a sudden has

9    unfettered access to plan and plot and conduct attacks,

10   which they do in 1998, East Africa embassy bombings in Kenya

11   and Tanzania; later in 2000, with the USS Cole.

12        Q     What happened next?

13        A     I'd say the next significant event was

14   September 11, 2001.

15        Q     How was that significant for the Taliban?

16        A     Well, after 9/11, the United States invaded

17   Afghanistan, knocked them out of power, and chased them out

18   of the country.

19        Q     Where did they go?

20        A     They went to neighboring Pakistan primarily to

21   regroup.

22        Q     Did they go other places as well?

23        A     There were Taliban members that went to Iran.

24        Q     You said they went to regroup.       How did they do

25   that?
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1         A      So they sought sanctuary in the federally

2    administrated tribal areas in Waziristan and elsewhere and

3    began planning -- laying out the blueprint for what would

4    ultimately become the insurgency against the United States.

5         Q      How did the Taliban organize itself at that time?

6         A      So at the very top of the Taliban is the emir or

7    the leader of the faithful.      Below the emir, as I mentioned

8    before, is the Rahbari Shura or the leadership council.            And

9    then below the leadership council, the Taliban was organized

10   into various regional Shuras.

11        Q      You've been referring to the leadership council as

12   the Rahbari Shura.     Is it sometimes known by other names?

13        A      It's also referred to as the Quetta Shura.         Quetta

14   being the city in Pakistan where a lot of the leadership

15   regrouped initially.

16        Q      Were there -- before the creation of the regional

17   Shuras that you mentioned, were there other Shuras in the

18   area?

19        A      Yeah.

20               The Miranshah Shura was the first Shura that was

21   actually formed in 2002, 2003 time frame.

22        Q      Who operated that?

23        A      The Haqqani Network.

24        Q      How did the Rahbari Shura and Miranshah Shura

25   interact?
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1         A     So the Miranshah Shura actually pledged fealty or

2    allegiance to the Rahbari Shura to make sure it was

3    understood the pecking order in terms of the Rahbari Shura

4    was the supreme decision-making body underneath the emir,

5    that the Miranshah Shura would report to.

6         Q     What did that mean practically, that the

7    Miranshah Shura reported to the Rahbari Shura?

8         A     So the Rahbari Shura was responsible for

9    developing strategic guidance in accordance with the emir

10   and then passing down that strategic guidance on everything

11   from political and military affairs to the regional Shuras

12   to then be executed.

13        Q     What happened next in the development of the

14   Taliban?

15        A     You have the formation of several subsequent

16   regional Shuras, including the Peshawar Shura in 2005; the

17   Mashhad Shura, 2007.     That would, I would say, is the next

18   kind of significant event in terms of the organizational

19   structure of the insurgency at that time.

20        Q     Before we get to those, Dr. Clarke, let's spend

21   another couple of minutes on the Haqqani Network.

22        A     Sure.

23        Q     Who ran it during the time that you've been

24   discussing so far?

25        A     During the time we've been talking about, it was
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1    primarily run by the group Peshawar, Jalaluddin Haqqani.

2         Q     Did that change?

3         A     It did change over time.

4         Q     How?

5         A     Essentially as he got older, he began grooming his

6    son Siraj or Sirajuddin Haqqani to be the next leader of the

7    group.

8         Q     Did that affect the relationship between the

9    Haqqanis and the Taliban?

10        A     Yeah, I would say that it ruffled feathers within

11   the organization for sure.      There was, like any other

12   organization, issues of ego and jealousy at play.

13        Q     Did that lead to a divide between the Haqqanis and

14   the Taliban?

15        A     Never a significant one.

16              Throughout the entirety of the insurgency, this

17   remained a singular, coherent organization.

18        Q     What makes you say that?

19        A     Commanding control, the fact that there was never

20   any kind of significant split or breakdown.

21        Q     Did Siraj eventually replace his father?

22        A     He did.

23        Q     When was that?

24        A     He begins taking a more prominent role, I'd say,

25   beginning in 2007.
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1                In 2013, when Mullah Omar, the former emir, dies,

2    which the group doesn't actually acknowledge until 2015, he

3    becomes the chief military strategist and a deputy within

4    the organization.

5         Q      Within which organization?

6         A      Within the Taliban.

7         Q      And what is his role within the Haqqani Network?

8         A      He was the de facto military chief.       Or are you

9    saying today or then?

10        Q      At that time.

11        A      Yeah, the de facto military chief.

12        Q      And what is his role today?

13        A      He's the interior minister of the current

14   government, the Taliban government, of what they call the

15   Islamic Emirate of Afghanistan.

16        Q      What does that mean, that he's the interior

17   minister?

18        A      That means he is one of the highest ranking

19   members of the Taliban and has significant decision-making

20   power over the organization.

21        Q      You described earlier three levels, the emir, the

22   Rahbari Shuras, and the regional Shuras.

23               What is the role of the emir in the Taliban?

24        A      The role of the emir is to provide spiritual and

25   religious guidance but also to offer guidance on political
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1    and military matters as well.

2          Q    What is the role of the Rahbari Shura?

3          A    The Rahbari Shura's goals or responsibility is to

4    translate the emir's guidance, formulate its own strategic

5    guidance, which can then be delegated to the regional Shuras

6    to execute.

7          Q    What about with respect to finances, what was the

8    Rahbari Shura's role there?

9          A    So the Rahbari Shura was in charge of the

10   finances, was the centralized organization that determined

11   how funds and resources would be allocated down the chain to

12   the regional Shuras.

13         Q    Dr. Clarke, I think you can maybe pull back an

14   inch or two from the mic when you're speaking to avoid a

15   little bit of feedback.

16         A    Sure.

17         Q    How did the Rahbari Shura manage finances, as you

18   were just saying?

19         A    So the Rahbari Shura not only doled out money to

20   the various regional Shuras; but similar to the way that the

21   mafia functions, it also demanded kickbacks from the bottom

22   up.

23         Q    And how did that work?

24         A    Each of the regional Shuras and the commanders

25   were responsible for kicking back a percentage of the funds
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1    that they made through various illicit activities back up to

2    the Rahbari Shura, which would then look out upon the

3    organization writ large and determine where funds needed to

4    be moved.

5         Q      Was this system institutionalized?

6         A      It was.   It was formalized through the Taliban's

7    doctrine and guidance through a code of conduct.

8         Q      And what about with respect to military

9    operations, how did the -- what did the Rahbari Shura do in

10   that area?

11        A      So the Rahbari Shura gave the strategic guidance

12   in terms of the strategy of the Taliban, passed that down,

13   and conveyed that to the regional Shuras.

14               Within the report, I compare it to a concept

15   called mission command, which the U.S. Army actually

16   follows.    And that's delegating a certain level of tactical

17   responsibility down the level.       So the regional Shuras are

18   aware of the strategy, and then they execute as they see fit

19   in their particular area of operations according to kind of

20   local context.

21        Q      Are there particular regional Shuras that are

22   especially relevant to this case?

23        A      Yes.

24        Q      Which ones?

25        A      I would say the Quetta Shura, the Peshawar Shura
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1    the Miranshah Shura, the Mashhad Shura, and ultimately Shura

2    of the North.

3         Q     Dr. Clarke, I'm going to show you on the screen

4    there -- this won't be in your binder.        This is a

5    demonstrative.     Do you recognize that?     This is slide 2.

6         A     I do.

7         Q     What is it?

8         A     This is a map of the regional Shuras from

9    approximately 2006 to 2015.

10        Q     Let's talk about the Quetta Shura starting on the

11   left?

12        A     Okay.

13        Q     What was that?

14        A     The Quetta Shura was responsible for the provinces

15   you can see there in mint green, Southern and Western

16   Afghanistan.

17              Also co-located with the Rahbari Shura in the City

18   of Quetta.

19        Q     You mentioned earlier that the Rahbari Shura is

20   sometimes referred to as the Quetta Shura.         You're talking

21   here about the Quetta Shura also.       What's the relationship

22   there?

23        A     So the Rahbari Shura is the leadership council.

24   And, again, the name "Quetta Shura" also applies to the

25   Rahbari Shura.     It can be a bit confusing.
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1                But the Quetta Shura was also, in addition, a

2    regional Shura, along with Peshawar, Miranshah,

3    Mashhad Shura of the North, which will appear on subsequent

4    maps.

5         Q      Moving clockwise, we get to the Peshawar Shura in

6    brown.    What was that?

7         A      The Peshawar Shura, again, was established in

8    2005.    This was the Shura responsible for an area known as

9    N2KL.    And you can see that they're Nangarhar, Nuristan,

10   Kunar, and Laghman, as well as several other provinces.

11               And as you can see from the map, it borders

12   Pakistan.

13        Q      And next was the Miranshah Shura, what was that?

14        A      The Miranshah Shura, the first Shura established

15   and established by leadership of the Haqqani Network, also

16   bordering Pakistan.     And that was the Shura that was

17   responsible for this area that you see here, sometimes

18   referred to as P2K, Paktika, Paktia, Khost, but also Logar.

19        Q      Dr. Clarke, there are two provinces there that are

20   brown with yellow crosshatching, Wardak and Kabul.          What

21   does that signify?

22        A      So Wardak and Kabul show the yellow crosshatching

23   on brown because that's the responsibility both the

24   Peshawar Shura and Miranshah Shura in this case.

25        Q      How did that work; that is, the responsibility of
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1    both?

2         A     So there's also -- we can get into something

3    called the Kabul Attack Network, which was formed in 2004.

4    This is, again, just -- should we go into the --

5         Q     Sure, yes, please.

6         A     So the Kabul Attack Network was a terrorist

7    syndicate.   So a group of terrorist organizations with a

8    shared goal, responsibility for spectacular attacks in Kabul

9    and the surrounding areas.      So you can kind of see an area

10   of shared responsibility between Peshawar in brown,

11   Miranshah, the crosshatching, and then the

12   Kabul Attack Network as well.

13        Q     What organizations were part of the

14   Kabul Attack Network?

15        A     So Kabul Attack Network was primarily led by the

16   Haqqani Network.    That's what I would call the lead dog in

17   this network, in the syndicate.       But it was also supported

18   by al-Qaeda, Lashkar-e-Taiba, Pakistani Inter-Services

19   Intelligence, and smaller insurgent groups.

20        Q     Did these groups cooperate outside of Kabul as

21   well?

22        A     They were known to, but Kabul was the -- kind of

23   the main show just because of the nature of it being the

24   capital, the presence of U.S. and international troops,

25   number of targets, and the impact of spectacular attacks in
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1    Kabul.

2         Q      Dr. Clarke, there are five provinces in blue

3    labeled parenthetically Rahbari Shura.        What does that

4    indicate?

5         A      Yeah.

6                So that shows that the Rahbari Shura, in addition

7    to being the leadership council, also oversaw operations in

8    the provinces that you see highlighted there in blue,

9    starting with Kunduz in the North, going all the way to

10   Zabul in the south.

11        Q      So there was -- was there a regional Shura at this

12   time that oversaw those provinces?

13        A      Rahbari Shura was in charge of overseeing those.

14        Q      And are you aware that some observers have said

15   that these Shuras were really separate terrorist groups?

16        A      I am aware of that.

17        Q      What is your reaction to that?

18        A      I think it's a complete misreading of the

19   organizational structure.      Again, the Taliban remained a

20   singular coherent organization through its command and

21   control, and so these were not whatsoever separate

22   terrorists organizations.

23        Q      Now, why was the Taliban organized in this way?

24        A      Well, I'd say a couple of reasons.

25               One, from their perspective, it was smart.         So it
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1    was -- it was good operational security.        They're going up

2    against the United States with exquisite human intelligence,

3    signals intelligence, collection capabilities, and this was

4    a way to avoid some of the intelligence pressure from the

5    United States.

6               I would also say that it was arranged like this

7    geographically because you had these regional power bases in

8    these various areas, and it was a way to put a local face on

9    the insurgency.

10        Q     And, Dr. Clarke, what is your basis for this --

11   the explanation you've been giving of the organizational

12   structure of the Taliban?

13        A     So I've reached this conclusion based on, again, a

14   career of reviewing both primary source documents, including

15   many U.S. Government documents, Treasury, Department of

16   Justice, DEA, et cetera; numerous secondary sources,

17   including books by scholars, think tank reports, et cetera;

18   as well as, you know, scholars that have done field work in

19   these provinces and actually interviewed Taliban commanders.

20   These sources were then checked against the information we

21   have from U.S. Government documents at the unclassified

22   level, compared and contrasted.

23        Q     Thank you, Dr. Clarke.

24              Let's move on to the relationship between the

25   Taliban and Iran between about 2006 and about 2019.
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                                                                        152

1         A     Okay.

2         Q     Just generally speaking, how would you describe

3    that relationship?

4         A     I would describe it as a mutually beneficial

5    relationship where both the Taliban and Iran each was able

6    to achieve from maintaining the relationship.

7         Q     What were some of those objectives?

8         A     Well, for the Taliban, it was securing resources,

9    securing training, tacit knowledge transfer from the Islamic

10   Revolutionary Guards, which is the elite Iranian

11   intelligence service to the Taliban.

12        Q     Were there any other ways in which Iran provided

13   support to the Taliban?

14        A     Iran played a significant role in the Taliban's

15   drug-trafficking operations.

16        Q     When did the Taliban first get involved in drug

17   trafficking?

18        A     I mean, really, the Taliban has been involved in

19   some form or another with drug trafficking from the very

20   beginning, from the nascent stages of its inception.

21        Q     Why?

22        A     It's highly lucrative.      It provided a lot of

23   financial resources for the insurgency.

24        Q     How did the Taliban derive value from drug

25   trafficking?
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                                                                             153

1         A     The Taliban derived value from drug trafficking in

2    every possible way.     It -- initially, it started out simply

3    by taxing farmers that were growing poppy.         Over time when

4    it saw how much money there was to be made, the Taliban

5    became involved in every step of the value chain to the

6    laboratories that would refine the poppy ultimately into

7    heroin and to the transportation, to the manufacturer, and

8    on to kind of, you know, ultimately abroad to be sold.             So

9    they're getting a cut at every step of that value chain.

10        Q     How much money did the Taliban make from drug

11   trafficking?

12        A     Estimates vary widely.      We've seen estimates

13   between 50 million and $500 million per year.

14              I'm comfortable saying some of the more recent

15   estimates that we've seen from the United Nations, including

16   estimates this year, put that number about $400 million a

17   year.

18        Q     How did, specifically, did the Iranian government

19   facilitate the Taliban's drug trafficking?

20        A     So the Iranians would, first of all, allow drugs

21   to pass over the Iranian border.       They would also go a step

22   further, and they would send weapons back with drug

23   traffickers into Afghanistan to give to the Taliban.           And in

24   some cases, they would work directly with smugglers to plan

25   attack on U.S. soldiers.
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                                                                        154

1         Q     And before we get into some more detail on that,

2    Dr. Clarke, what's the basis for your understanding of

3    Iran's role in the Taliban's drug trafficking?

4         A     My basis for the understanding is U.S. Treasury

5    documents, Department of Justice documents, DEA documents,

6    and a career spent looking at how Iran operates with other

7    violent non-state actors, what its modus operandi is and how

8    it goes about achieving its objectives.

9         Q     You referred to documents from a few different

10   government agencies.     Can you give us some examples of the

11   kinds of documents those agencies put out that you rely on?

12        A     Sure.

13              So the Treasury Department will frequently release

14   press releases when they designate individuals or

15   organizations.     And they will explain and lay out kind of

16   the case based on intelligence that's at the unclassified

17   level.   And so these are documents you can glean off their

18   website, actually.     Department of Justice, same thing.

19   Similar for DEA, Congressional Research Service.

20        Q     I'm going to put up on the screen here -- oh,

21   I'm sorry.

22              Dr. Clarke, before we go further on the drug

23   trafficking, let's bring the regional Shura discussion up to

24   the present.

25        A     Sure.
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                                                                        155

1         Q      What do you see here in Slide 3?

2         A      This is a map of the regional Shuras from

3    approximately 2015 to 2019.

4         Q      There are two new Shuras here that were not on the

5    previous map.    Starting on the left, the Mashhad Shura, what

6    was that?

7         A      Yeah.   The Mashhad Shura became co-responsible

8    with the Quetta Shura, hence the crosshatching for the

9    provinces in Southern and Western Afghanistan, with

10   significant influence.     It essentially functioned as the

11   liaison between the Taliban and the IRGC, the Islamic

12   Revolutionary Guard Corps.

13        Q      And when did the -- was the Mashhad Shura created?

14        A      So created in 2007 initially.

15        Q      Why did it not appear on the previous map?

16        A      The reason why it doesn't appear on the previous

17   map is because during that time period, the Mashhad Shura

18   primarily operated from Iran's territory, Iran proper, and

19   not Afghanistan.

20        Q      The other additional Shura on this map,

21   Dr. Clarke, is the Shura of the North.        What was that?

22        A      Shura of the North was created in 2015, also with

23   Iranian assistance, and it was responsible for operations in

24   Badakhshan.

25        Q      All right.
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                                                                        156

1               Now, Dr. Clarke, returning to the drug trafficking

2    conversation, I'm putting up a map which also appears on

3    page 84 of 143 in your report, Plaintiffs' Exhibit 2.

4               Do you recognize that map?

5         A     I do.

6         Q     What is that?

7         A     This is a map from the United Nations Office on

8    Drugs and Crime of the heroin trafficking routes through

9    Iran.

10        Q     Could you walk us through, please, the items

11   listed in the map key.

12        A     Sure.

13              So in the kind of light-brown color, you see the

14   major roads.    Where you see the pin icon, those are the

15   official border crossing points.       And where you see the

16   green arrow, those are various heroin trafficking routes.

17        Q     Why would the Taliban want to traffic heroin

18   through Iran?

19        A     The Taliban would want to traffic heroin through

20   Iran specifically because it's the easiest way for the

21   product to reach major markets, including Europe, but also

22   Russia, and then to a lesser extent, parts of the caucuses,

23   Central Asia, and then to the Southwest, the Persian Gulf.

24        Q     Can you see that on the map?

25        A     I can.
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                                                                        157

1         Q     How is that?

2         A     I'm sorry, can you repeat that?

3         Q     Could you explain that, show that to us?

4         A     Yeah, sure.

5               So you can see, again, the major heroin

6    trafficking routes coming from Afghanistan into Iran, from

7    Pakistan into Iran, and then from Iran through -- if you

8    look at the kind of upper left box through the Northwest,

9    traveling into the caucuses, into Turkey, and then

10   ultimately onward to Europe, again, then kind of heading

11   Southwest from Iran, into the Persian Gulf.         In the

12   Northeast, you've got heroin trafficking routes going into

13   Turkmenistan and Central Asia proper.

14        Q     How much heroin came from Afghanistan during the

15   time period relevant to this case?

16        A     A lot.

17              At this time, this is -- you're talking about

18   80 to 90 percent of the world's supply of heroin coming from

19   this one country, which is significant.

20        Q     Looking at the right side of the map, the

21   Afghanistan/Iran border, there are three Afghan provinces,

22   Herat, Farah, and Nimroz.      What was the Taliban's role in

23   that area during this period?

24        A     So during this period, the Taliban was the

25   dominant insurgent organization in that area of operations
     Case 1:18-cv-02065-JDB Document 53 Filed 10/20/21 Page 33 of 143

                                                                        158

1    in those provinces.

2         Q     And just below that, there are three arrows

3    showing trafficking from Pakistan into Iran.

4         A     Correct.

5         Q     Where did the heroin represented there originate?

6         A     The heroin originated in Afghanistan, flowed

7    southward into Pakistan, and then westward from Pakistan

8    into Iran.

9         Q     And the Iranian side of that border is labeled

10   Sistan and Balochistan.

11              Do you see that?

12        A     I do.

13        Q     And just to be clear, is that one province or two

14   provinces?

15        A     That's one province.

16        Q     Did the Taliban have a presence there?

17        A     Absolutely.    The Taliban at that time maintained a

18   presence on both sides of the border in that province

19   itself.

20        Q     What did they do there?

21        A     They had training camps.      They had refinement

22   laboratories.    They had basically an infrastructure there as

23   an extension of the insurgency.

24        Q     How did Iranian officials facilitate drug

25   trafficking across the border into Iran?
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                                                                        159

1         A     One way in particular was they would give the

2    Taliban special license plates.       And so these license plates

3    would be on Taliban vehicles.       When the vehicles approached

4    the border, the Border Patrol was instructed, once they

5    recognized these license plates, not to search those

6    vehicles, which would then be given unfettered access into

7    Iran to continue trafficking the drugs.

8         Q     Is it surprising that Iran would engage in drug

9    trafficking?

10        A     No.

11        Q     Why not?

12        A     Iran has a long and somewhat sordid history of an

13   involvement with other violent, non-state actors, terrorists

14   and insurgent groups that are involved -- heavily involved

15   in drug trafficking.

16        Q     What are some examples of those groups?

17        A     The most prominent is Lebanese Hezbollah, which

18   maintains a global footprint and has trafficking operations

19   on multiple continents.

20        Q     Do you know whether there's a significant drug

21   problem in Iran?

22        A     There is.

23              Unfortunately, there's a growing domestic issue

24   with addicts in Iran.

25        Q     In light of that fact, does it surprise you that
     Case 1:18-cv-02065-JDB Document 53 Filed 10/20/21 Page 35 of 143

                                                                        160

1    Iran would engage in this facilitation for the Taliban?

2         A     No.

3         Q     Why not?

4         A     Because, you know, when Iran conducts a

5    cost-benefit analysis, they're willing to deal with a

6    growing domestic issue if it's going to help them achieve

7    their national security objectives, which first and

8    foremost, are pushing the United States out of Afghanistan.

9         Q     And lastly, Dr. Clarke, is it surprising to you

10   that the Shia government of Iran would work with Sunni

11   Taliban in this way?

12        A     No.

13        Q     Why not?

14        A     Again, Iran has a long and, I would say, sordid

15   history of cooperating with, sponsoring, and partnering with

16   Sunni terrorist groups to include al-Qaeda, Hamas, and

17   Palestinian Islamic Jihad.

18        Q     How did Iran's support for the Taliban's drag

19   trafficking affect the Taliban?

20        A     It enriched the Taliban.      It allowed the Taliban

21   to gain access to resources that it would not have --

22   financial resources specifically that it would not have had

23   otherwise if it weren't for Iranian assistance.

24        Q     How did that support affect the Taliban's

25   terrorist capabilities in particular?
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1         A      It was crucial to the Taliban.

2                Essentially, with that money, the Taliban was able

3    to kind of look out at the battlefield and see where it was,

4    where resources were needed, to then allocate those

5    resources to commanders, to regional Shuras that needed them

6    the most.

7                It provided the Taliban with really just kind of a

8    level of flexibility that few insurgent groups can enjoy.

9         Q      And, Dr. Clarke, what kind of terrorists tactics

10   was the Taliban using during this period, again, 2006 to

11   2019, approximately?

12        A      I would describe the Taliban's tactics at the time

13   as what I would call classic insurgent tactics,

14   asymmetric-style attacks.

15        Q      What does that mean?

16        A      Asymmetric, pointing out the kind of asymmetry

17   between the Taliban as an insurgent group and the

18   conventional military power, such as the United States.

19               Think about David versus Goliath.

20        Q      What sort of asymmetric attacks did the Taliban

21   engage in?

22        A      A whole range really.     Everything from sniping

23   attacks, small-arms fire, hit-and-run attacks, ambushes,

24   rocket-propelled grenades, improvised explosive devices or

25   IEDs, suicide attacks.     You name it, they did it.
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                                                                        162

1         Q     How do you know, Dr. Clarke, that the Taliban used

2    these tactics?

3         A     One, from a career of studying these groups;

4    looking at primary source documents released by the

5    U.S. Government; comparing those with what we know from

6    journalistic reporting; think tank reporting that includes

7    interviews with U.S. commanders on the ground and in some

8    cases academics that would interview the Taliban; on top of

9    the Taliban's own video releases that show them filming some

10   of the attacks.

11        Q     What was the Taliban's purpose in launching these

12   attacks?

13        A     The purpose was to kill and maim U.S. soldiers in

14   the hope that the United States would withdraw its forces

15   from Afghanistan.

16        Q     How did the Taliban leadership orchestrate the

17   attacks?

18        A     So the Taliban's leadership sets out the strategy

19   and then passes that strategic guidance down to the regional

20   Shuras and the military commanders in charge of those

21   regional Shuras to then execute as they see fit.

22        Q     You mentioned ambushes.      How does that sort of

23   management, top-down management apply in an ambush

24   situation?

25        A     Right.
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1               So ambush is part of the overall strategy.          But

2    because U.S. convoys aren't always traveling on the same

3    roads at the same time with the same number of vehicles,

4    it's more guidance, again, going back to this concept I

5    described earlier of mission command.        Where the Taliban has

6    the overarching framework of what they want to do, it

7    depends on when these convoys come, how large they are,

8    whether it's daytime or nighttime.       There's a number of

9    variables.

10              But the Taliban can then spring the ambush

11   according to the guidance that was passed down from on top

12   and, you know, how they see fit depending on, again, forced

13   protection.   There's so many different variables that go

14   into that.

15        Q     Did the Taliban's use of ambushes change over

16   time?

17        A     It did.

18        Q     How?

19        A     It grew far more sophisticated over time.

20        Q     Did Iran have a role in that?

21        A     Absolutely.

22              Not only did the Iranians provide resources for

23   the Taliban to conduct these attacks, they also trained the

24   Taliban and provided what I call tacit knowledge transfer,

25   which is crucial in the improvement of terrorist tactics
     Case 1:18-cv-02065-JDB Document 53 Filed 10/20/21 Page 39 of 143

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1    over time.

2         Q     You mentioned IEDs earlier.       What are those?

3         A     IEDs are improvised explosive devises.

4         Q     Did the Taliban's use of them change over time?

5         A     They did.

6               They also grew more sophisticated and at some

7    point included EFPs.

8         Q     What are those?

9         A     Explosively formed penetrators.

10        Q     What does that mean?

11        A     So that's essentially a souped-up IED that

12   includes kind of cylindrical cones that pierce armor more

13   effectively.    Sometimes they would include ball bearings to

14   make the injuries worse.

15              We saw the Iranians training Iraqi insurgents

16   doing that.    It's a kind of signature that when you see the

17   actual explosive, you know -- you can trace it back to its

18   origin.

19        Q     Did Iranians train the Taliban in that as well?

20        A     They did.

21        Q     Lastly, you mentioned suicide attacks.         Did the

22   Taliban's use of those change over time?

23        A     Yes.

24        Q     How?

25        A     They also grew more sophisticated over time.
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                                                                        165

1         Q     Did Iran play a role in that?

2         A     Yes.

3         Q     What was its role?

4         A     Again, I'd say the critical component being the

5    provision of resources used in suicide vests or to be used

6    in VBIEDs or vehicle-borne improvised explosive devices, AKA

7    car bombs, as well as the training.

8         Q     Dr. Clarke, as part of your work for this case,

9    have you evaluated the likelihood that the Taliban carried

10   out attacks on plaintiffs in different regions of

11   Afghanistan?

12        A     Yes.

13        Q     Let's look at this table which comes from page 50

14   out of 143 of your report.

15              What is this?

16        A     This is a table of my conclusions broken down by

17   geographic region, time frame, and then my ultimate

18   assessment of the Taliban's involvement.

19        Q     How did you identify the regions that are listed

20   in the table?

21        A     So the regions would be familiar to anyone that

22   studies Afghanistan.

23              You know, these, if I were to say Southern

24   Afghanistan and you were familiar with the country, you

25   would kind of have a general idea of what I was talking
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                                                                              166

1    about.

2               Much in the same way as if I told you that I was

3    from the Midwest or Northeast or the Sun Belt, so they kind

4    of work like that.

5         Q     So the next column is labeled "Time Frame."             How

6    did you identify those time frames?

7         A     The time frame covers the time period under which

8    we examined the attacks in this case.

9         Q     Let's look at the next slide.

10              What is this, Dr. Clarke?

11        A     So this is just a graphical representation of my

12   conclusions broken down by region, as well as my assessment.

13        Q     How did you determine the likelihood that the

14   attacks in a given region were carried out by the Taliban?

15        A     So my methodology for reaching the conclusions

16   looked at whether or not the Taliban was the dominant

17   insurgent organization in the area of operations at the

18   time, as well as whether the Taliban's tactics, techniques,

19   and procedures, TTPs, if you will, were consummate with the

20   Taliban's.

21        Q     How did you determine whether the Taliban was the

22   dominant organization in a region?

23        A     That was determined by looking at manpower; size

24   of the organization; operational tempo, or OPTEMPO;

25   frequency of attacks.
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                                                                        167

1         Q     And you mentioned TTPs.      How did you evaluate

2    those?

3         A     So, again, studying the way that the insurgent

4    group acts, the weapons it uses, the way that it moves on

5    the battlefield and coordinates command and control,

6    compared with how the group acts overall, how it's acted

7    over time, how it's acted in various theaters.

8         Q     What sources did you use to do that?

9         A     I used primary source documents, U.S. Government

10   documents from the Congressional Research Service,

11   Department of Justice.     I used secondary sources, including

12   newspaper accounts and think tank reports.         And I also in

13   some cases looked at the Taliban's own claims of

14   responsibility for these attacks.

15        Q     How does the Taliban claim responsibility for

16   attacks?

17        A     The Taliban releases claims of responsibility

18   through its official media.

19        Q     Dr. Clarke, let's --

20              MR. GOLDSMITH:     I'm putting up on the screen a

21   screenshot from Plaintiffs' Exhibit 290, which, Your Honor,

22   we'll offer through a subsequent witness, but just mark for

23   identification now.

24   BY MR. GOLDSMITH:

25        Q     Dr. Clarke, do you recognize the logo in the upper
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1    right-hand corner of that screenshot?

2         A      I do.

3         Q      What is that?

4         A      That's Alemarah, which is the Taliban's official

5    media propaganda arm.

6         Q      We can go back to your map.

7                Dr. Clarke, are Taliban claims of responsibility

8    credible?

9         A      They are credible in the sense that when the

10   Taliban claims they conducted an attack, they've conducted

11   an attack.    And we know that by comparing that with our own

12   U.S. Government records reporting, as well as secondary

13   sources from journalists on the ground at the time.

14        Q      Is there another sense in which their claims are

15   not credible?

16        A      Yeah.

17               I would say that they exercise hyperbole when it

18   comes to their claims of U.S. soldiers killed or wounded,

19   vehicles destroyed, weapons seized.        They -- they will often

20   be inflated.

21               Again, it's propaganda in many ways, right?            So --

22        Q      So let's look at the map here, starting at the

23   bottom.   The southernmost region is Southern Afghanistan.

24   What did you conclude about the attacks in that area?

25        A      So my conclusion for Southern Afghanistan, the
     Case 1:18-cv-02065-JDB Document 53 Filed 10/20/21 Page 44 of 143

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1    province that's highlighted in red, are that the Taliban

2    very likely carried out all attacks.

3         Q     Why is that?

4         A     I say that based on the fact that that's the

5    Taliban's traditional heartland, its primary base of

6    operations.    It was easily the most dominant insurgent

7    organization in that area of operations during the period in

8    question, and the attacks themselves reflected the TTPs

9    consummate with how the Taliban acts and behaves.

10        Q     When you say "very likely carried out all

11   attacks," what do you mean by "very likely"?

12        A     I mean it was more likely than not, in fact, that

13   the Taliban was the group responsible and that no other

14   group was responsible for the attacks in those provinces

15   during that time period.

16        Q     Can you be any more specific than "more likely

17   than not"?

18        A     That it was almost a certainty that it was the

19   Taliban.

20              Again, I wasn't there, right?       So I can't say with

21   certainty that I saw this happen.       But based on my study of

22   the Taliban as an organization, of the manpower, the

23   presence, the style of the attacks, the OPTEMPO, it makes it

24   very likely that the Taliban and no other group was

25   responsible.
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1         Q     Moving counterclockwise, Dr. Clarke, the next

2    region is Southeastern Afghanistan.

3               What did you conclude about that area?

4         A     My conclusion for Southeastern Afghanistan

5    highlighted in kelly green is that the Taliban's

6    Haqqani Network or the broader Taliban very likely carried

7    out all attacks.

8         Q     Why did you reach that conclusion?

9         A     I reached that conclusion because the Taliban's

10   Haqqani Network or the broader Taliban was the dominant

11   insurgent organization in that area of operations during the

12   time period in question.      And the tactics, techniques, and

13   procedures used in these attacks were consummate with the

14   TTPs used by the Taliban's Haqqani Network or the broader

15   Taliban.

16        Q     Moving next to Loya Paktia, what was your

17   conclusion there?

18        A     My conclusion on Loya Paktia, highlighted there in

19   yellow, is that the Taliban's Haqqani Network very likely

20   carried out all attacks.

21        Q     Why?

22        A     Because the Taliban's Haqqani Network was the

23   dominant insurgent organization in that area of operations

24   during the period in question.       And the tactics, techniques,

25   and procedures used in the attacks were consummate with the
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1    Taliban's Haqqani Network.

2         Q      And these two regions, you call out the

3    Haqqani Network in particular.       Why is that?

4         A      Well, the Haqqani Network, as I detailed earlier,

5    has a long history operating along the Af-Pak border, is

6    able to go back and forth across both sides of the border,

7    and is really an entrenched presence in that part of the

8    country.

9         Q      The next region is Kabul.      What did you conclude

10   about Kabul?

11        A      My conclusion about Kabul is that

12   Kabul Attack Network very likely carried out all attacks.

13        Q      Why is that?

14        A      Because the Kabul Attack Network was the dominant

15   syndicate or entity operating in Kabul during the period in

16   question.    And the tactics, techniques, and procedures

17   reflected the TTPs used by Kabul Attack Network.

18        Q      Next, Dr. Clarke, is an area labeled N2KL.         What

19   is that?

20        A      N2KL, is, as you can see, Nuristan, Nangarhar,

21   Kunar, and Laghman provinces in sky blue.

22        Q      What did you conclude about that area?

23        A      My conclusion was that the Taliban, with direct

24   participation by al-Qaeda, likely carried out all attacks.

25        Q      Why?
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1         A     Because the Taliban, with the assistance of

2    al-Qaeda, was the dominant insurgence organization in that

3    area of operations during the period in question.          And the

4    tactics, techniques, and procedures used by the Taliban and

5    its al-Qaeda allies were consummate with the way that the

6    Taliban and al-Qaeda operated.

7         Q     Why in this region does al-Qaeda merit identifying

8    in particular?

9         A     Well, this is the primary part of the country

10   where al-Qaeda was -- had the most-robust presence, where we

11   know that al-Qaeda attacks were the most common.

12              Again, on the border with Pakistan where there was

13   a constant safe haven or sanctuary across the border in

14   parts of the federally administered tribal areas throughout

15   the length of the insurgency.       This was kind of al-Qaeda

16   country within Afghanistan.

17        Q     The next region, Dr. Clarke, is North Central

18   Afghanistan.    What did you conclude about that area?

19        A     My conclusion for North Central Afghanistan was

20   that the Taliban likely carried out all attacks.

21        Q     Why?

22        A     Because the Taliban was the dominant insurgent

23   organization in that area of operations during the time

24   period in question.     The tactics, techniques, and procedures

25   used, reflected were consummate with the Taliban's TTPs.
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1         Q     Now, Dr. Clarke, in both North Central Afghanistan

2    and N2KL, you said "likely" rather than "very likely."

3    Could you elaborate on that, please?

4         A     Correct.

5               Again, so I wasn't there.       I didn't see these

6    attacks happen.    But this is something I've been studying

7    for close to two decades.

8               The reason I used "likely" instead of "very

9    likely," in the case of North Central Afghanistan, it

10   remains possible, although I still think it's more likely

11   than not that the Taliban was responsible, that another

12   insurgent organization was responsible for some attacks.

13        Q     Any other organizations in particular?

14        A     In the case of North Central Afghanistan, I'm

15   referring to an entity called HIG, Hizb-i-Islami Gulbuddin,

16   named after Gulbuddin Hekmatyar, a traditional Afghan war

17   lord and jihadist.

18        Q     What about in N2KL?

19        A     In N2KL, you had smaller entities operating,

20   including groups like the IMU, the Islamic Movement of

21   Uzbekistan.

22        Q     Finally, Dr. Clarke, Western Afghanistan, what was

23   your conclusion there?

24        A     My conclusion for Western Afghanistan was that the

25   Taliban very likely carried out all attacks in that region
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1    during the time period in question.

2         Q     Why do you say that?

3         A     Because the Taliban was the dominant insurgent

4    organization in that area of operations, and the TTPs used

5    were consummate with those used by the Taliban.

6               MR. GOLDSMITH:     Thank you, Dr. Clarke.      I have no

7    further questions.

8               THE COURT:    Okay.    Thank you, Dr. Clarke.     That

9    completes your testimony.      Thank you very much for coming.

10              THE WITNESS:    Thanks, Your Honor.

11              THE COURT:    I really appreciate both your

12   testimony and the submission of your report.

13              THE WITNESS:    Thank you.

14              THE COURT:    Thank you.

15              MR. GOLDSMITH:     Your Honor, my colleague,

16   Grace Knofczynski, will call the next witness knew.

17              MS. KNOFCZYNSKI:      Your Honor, plaintiffs call

18   Colonel Thomas McGrath as our next witness.

19              COURTROOM DEPUTY:      Please raise your right hand.

20              (Witness is placed under oath.)

21              DEPUTY CLERK:     Thank you.

22

23

24

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1                                   - - -

2    THOMAS McGRATH, WITNESS FOR THE PLAINTIFFS, SWORN

3                            DIRECT EXAMINATION

4                                   - - -

5    BY MS. KNOFCZYNSKI:

6         Q     You can take your mask off, I believe, with the

7    Court's permission.

8         A     Okay.    Thank you.

9         Q     Good afternoon, Colonel McGrath.

10        A     Good afternoon.

11        Q     Do you work currently?

12        A     Yes.    I'm a Federal Government employee at the

13   Small Business Administration.

14        Q     Did you previously serve in the U.S. military?

15        A     Yes.

16        Q     In what branch?

17        A     United States Army.

18        Q     And for how long?

19        A     For 30 years.

20        Q     What years?

21        A     June of 1981 to June of 2011.

22        Q     What was your rank when you retired?

23        A     I was a colonel or O6.

24        Q     While in the Army, did you ever deploy?

25        A     Yes.    I deployed to combat twice.
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1           Q   When was that?

2           A   I deployed to Iraq in July of '04 to July of '05.

3    And had I deployed to Afghanistan in May of '07 to August of

4    '08.

5           Q   What was your role on that deployment to

6    Afghanistan?

7           A   I was the commander of the Afghan Regional

8    Security Integration Command.

9           Q   What is the Afghan Regional Security Integration

10   Command?

11          A   We were responsible for the recruiting, training,

12   advising, and fighting with the Afghan National Army and the

13   Afghan National Police.

14          Q   Is there any abbreviation we can use while we're

15   discussing that organization?

16          A   Yes.   We use it the term ARSIC.

17          Q   Who was assigned to serve with you in ARSIC?

18          A   We had a wide group of folks with us.         We had

19   soldiers, sailors, airmen, Marines, civilians.         I had

20   Canadians, Dutch, French, English in various positions

21   throughout my command.     So we're a very wide, diverse group

22   of soldiers, sailors, and Marines.

23          Q   Colonel McGrath, I'm placing a figure on the

24   screen here, and this is just a demonstrative.

25              What does this figure show?
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1         A     This is a map of the -- of Afghanistan.

2         Q     And could you help situate the Court with where

3    we're going to be talking about today?

4         A     Yes.

5               So if I may just give you an orientation.

6               THE WITNESS:    If it's okay?

7               THE COURT:    Please.

8               THE WITNESS:    To the north is up; to the right is

9    east; to the south is and to the west is to the left.

10              So if you look --

11              THE COURT:    I'm the only one in the courtroom who

12   probably didn't know that.

13              THE WITNESS:    What's that, sir?

14              THE COURT:    I said I'm the only one in the

15   courtroom who probably didn't know that.

16              THE WITNESS:    Oh, okay.    Well, I'm here to help.

17              To the south, you'll see Pakistan.        That extends

18   from the southern portion of Afghanistan, up into the east.

19              To the west, you'll see the government of Iran.

20              To the north, you'll see what we call the Stans

21   Turkmenistan, Uzbekistan, and Tajikistan.

22              And to the northeast, China.

23              And in the various colored areas, you'll see the

24   different provinces of Afghanistan.

25
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1    BY MS. KNOFCZYNSKI:

2           Q   Was your role in Afghanistan focused on any

3    particular areas?

4           A   Yes.   We were responsible for the Southern Region

5    of Afghanistan.

6           Q   What provinces specifically were you responsible

7    for?

8           A   Specifically, we were responsible -- if you look

9    at the map into the central area, down the bottom you'll see

10   Kandahar, Kandahar City.

11              To the left of the west, you'll see Helmand.

12              If you go to the north of Kandahar, you'll

13   Uruzgan.

14              And then to the east, to the right, you'll see

15   Zabul Province.

16              We were responsible for those four areas.

17          Q   I just zoomed in on that area you were discussing,

18   Colonel McGrath.

19          A   Yes.

20          Q   Where were your headquarters located?

21          A   My headquarters was in Kandahar Airfield.

22          Q   And where is Kandahar Airfield?

23          A   If you look at the map, you see Kandahar.         We're

24   just to the south of Kandahar City on Kandahar Airfield.

25          Q   Were any other forces stationed there?
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1         A     Yes.   We had NATO forces.      At the time that I was

2    in command, the NATO forces, which was called Regional

3    Command South, was commanded by a British two-star general.

4    That eventually transferred to a Canadian two-star general.

5               And Kandahar, where the -- well, I'll just wait.

6    I think I answered that.      Sorry.

7         Q     How did you interact with those NATO forces?

8         A     We interacted on a regular basis, on a daily

9    basis.   I was integrated with the commander of RC South and

10   his staff.

11        Q     Did you travel through the other parts of

12   Kandahar, Helmand, Zabul, and Uruzgan during this time

13   frame?

14        A     Yes, quite frequently.

15        Q     How did you travel?

16        A     I primarily traveled via the Humvee -- that's the

17   ubiquitous vehicle you see in pictures and big armored

18   vehicle -- throughout the different regions.

19              I also flew if I had to get somewhere quickly.

20        Q     Where were your forces located in those four

21   provinces?

22        A     So I had forces in each of those provinces.             I had

23   them in Kandahar City.     I had them in Lashkar Gah,

24   Helmand Province.     I had them in Uzurgan.      And I also had

25   them in Zabul.
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1         Q     What were their home bases in these areas?

2         A     So in Kandahar, we had Kandahar Airfield.          We also

3    had several bases or forward operating bases throughout the

4    city in the province of Kandahar.       And in Helmand, we were

5    in Lashkar Gah and Fort Dwyer and several of the other

6    forward operating bases.

7               In Uruzgan, we were in Tarinkot.        And if you look

8    to the east, in Zabul, we were in the vicinity of the Qalat

9    area, the capital city.

10        Q     You mentioned that your role was to provide

11   training for Afghan police.      Was this a formal training

12   program?

13        A     Yes.   We had a formal training program for the

14   police.

15        Q     What did that program look like?

16        A     Well, we -- just outside of Kandahar to the west,

17   we had a forward-operating base called Forward Operating

18   Base Walton, and we centralized our police training there.

19        Q     What training did you provide?

20        A     We provided basic police training.        It was

21   everything from how to use a handcuff, investigatory, baton

22   using, crowd control.

23              We then also included, due to the threat, rifle

24   training, machine gun training, and counter-IED training,

25   improvised explosive device training.
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1         Q     Did ARSIC teams also provide any real-world

2    mentoring or training?

3         A     Yes.

4               When -- anytime that the police left the fobs, we

5    were with the police.     We patrolled with them all the time.

6         Q     You said that you also provided training for the

7    Afghan National Army.     How was your role there any

8    different?

9         A     Our role with the Afghan National Army was more

10   focused on war fighting, if you will.        We focused on the

11   operations, on firing, maneuvering, how to defeat the enemy

12   forces, use of all of the combat arms that we have, whether

13   it's artillery, air, things of that nature.

14              We had training that went into, at the commander

15   levels and down, was mission analysis and developing orders

16   and plans.

17              We also helped them with their intelligence

18   gathering, infusion of that intelligence.

19              And then personnel logistics, mechanics,

20   maintenance, and things -- things along those lines.

21        Q     Did your teams patrol with the Afghan National

22   Army?

23        A     Yes.   We were with the Afghan National Army, and

24   we patrolled with them all the time.

25        Q     What was the relationship between your forces and
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1    the Afghan police and Army like?

2         A      I thought we had a very good relationship with

3    them, as necessary.     We got along well.     We shared

4    intelligence where we could.      We patrolled with them, as

5    I was saying.    And we fought with them also on -- whenever

6    there were battles.     We brought things to the battlefield

7    they couldn't, which was primarily artillery support or

8    aircraft support.

9         Q      Could you briefly describe a day for you

10   personally during that deployment?

11        A      Sure.

12               So for me, I usually got up around 06 in the

13   morning.    Got out, got some quick chow at the chow hall, and

14   headed down to my headquarters, which was a mile or so away,

15   at the airfield.    I immediately got an operations update

16   from the staff from the evening before and let me know if

17   any significant incidents were happening.

18               Then at about 7:30 I had my staff assemble where

19   they provided me an intelligence update, an operations

20   update.    And we also followed along with any personnel

21   issues, logistics issues, public affairs issues.          We had a

22   lot of interviews that we did with the press.

23               And then after that, I would have integration,

24   interaction with the commanding general and his staff of

25   Regional Command South.      I had two standing meetings with
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1    him two times a week, maybe three.

2               Then I -- just back and forth with the staff.

3    That would take up most of the morning.

4               In the afternoons, I would be, again, checking up

5    on the status of the operations and planning training also.

6    And that continued out through the evening until about

7    21:00, or 9:00 p.m. or 10:00 p.m. in the evening.

8         Q     Colonel McGrath, what enemy were you training the

9    Afghan police and National Army to fight?

10        A     The Taliban.

11        Q     Why the Taliban?

12        A     Well, the Taliban had provided safe haven for

13   al-Qaeda prior to 9/11.      And after we -- 9/11 happened, we

14   attacked the Taliban and al-Qaeda.       They still remained in

15   the country and were pushing back against the NATO and the

16   American forces.

17        Q     How do you know that the enemy was the Taliban?

18        A     Well, we knew it through our intelligence forces,

19   reports that came in.     We also knew it by the uniforms.

20   They wore a black turban in the east.

21              And down south, they wore, like, a blue uniform

22   with -- it looked like a shirt with a regular pair of blue

23   pants and then some dark loafers.

24              And they also shot at us on a regular basis, so we

25   figured they were Taliban.
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1         Q     Did you capture any terrorists during your

2    deployment?

3         A     Yes.   We captured Taliban regularly.

4         Q     And how did they identify themselves?

5         A     They said very clearly that they were Taliban.

6    They were fighting against the infidel.        And they were going

7    to beat us and all that kind of jargon.

8         Q     Your mission was working closely with local Afghan

9    police and military.     Does that inform your knowledge of the

10   enemy's identity at all?

11        A     Oh, yes, absolutely.

12              This goes back a long way.       The Afghan Army and

13   the Afghan police knew exactly who the Taliban were.           They

14   could point out the areas where they were.         And they also

15   called them up on several occasions.        They would converse by

16   phone and let them know that we were coming or they were

17   coming at us and that sort of thing.        It was interesting.

18        Q     Are there any particular examples you remember?

19        A     Yes, I do.

20              So if you look at the map here and you go over to

21   Qalat and Zabul, just to the north was an area called

22   Day Chopan.   And we got about a week or ten days' fight with

23   members of the Taliban.

24              We were planning some operations, and we had set

25   up to do a sweep of some villages, to clear the villages to
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1    make sure there weren't any Taliban there.         And then we were

2    going to continue off to the east.

3               The Afghan National Army commander, Colonel, said,

4    That's fine.    Take you two days to search.       We'll meet you

5    over here.

6               I said, Why are you going to do that?

7               And he said, Well, that's where they are.

8               And I said, Our intelligence says this.

9               He says, I know they're there because we called

10   each other up.

11              And they said, We're here.       Come and get us.

12   He said, I'm going to come and get you, words along that

13   line.

14        Q     Was that surprising to you?

15        A     Yes.   At the time it was very surprising, but it

16   was -- it was 100 percent correct.       They were exactly where

17   they said they were.

18              Another incident was later in the

19   Arghandab Province, which is just north of Kandahar, in June

20   of '08, we were fighting, with the Canadians, against a

21   large Taliban force.     Again, they were sweeping through some

22   villages with tanks.     The deputy brigade command -- core

23   commander came to me and said, That's fine.         We'll meet you

24   over here, which was about 10 kilometers, 6 miles to the

25   east.
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1               And I said, Why are you doing that?

2               That's where the Taliban are.

3               How do you know?

4               I called them up.     They called me up.      It went

5    back and forth.    You know, they're taunting each other and

6    that sort of thing.

7               But they knew the historical areas where the

8    Taliban were, and they were exactly where they said they

9    were.

10        Q     You mentioned these relationships between the

11   Taliban and the Afghan police and Army.        How long had the

12   Taliban been in this area?

13        A     From my understanding, 20, 30 years at least.

14   They started as the -- my understanding is the Mujahideen

15   and developed into the Taliban, was given safe have for

16   al-Qaeda, and continued that opposition against any outside

17   elements or nations that were in the area.

18        Q     Was the Taliban present throughout all four of

19   these provinces?

20        A     Yes.

21        Q     And was there any variation in the level of

22   Taliban presence in different areas?

23        A     Yes, there were, but they were prevalent

24   throughout the areas.     They had different what I'd call

25   strongholds or strong points, if you will, where they
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1    were -- there was dense numbers of Taliban.

2         Q     Let's discuss some of these strongholds more

3    specifically.    Were there any located in Helmand Province?

4         A     Yes, they were in Helmand Province --

5         Q     Where?

6         A     -- a lot.

7               So if you look at the map, you see Helmand in bold

8    letters.   Anything south of that area was pretty much

9    Taliban-controlled.     There were no British or Afghan

10   National Army or police south of that area.         So they had

11   free rein as they moved through.

12              Then you have on the map there Lashkar Gah, was a

13   Taliban hotspot, a strong point where they were.

14              You go a bit to the east of Lashkar Gah, and

15   there's an area called Sangin, S-a-n-g-i-n.         They were also

16   there, large numbers.     Anytime you went to these areas,

17   you're going to engage in a firefight.

18              You go just to the north of Lashkar Gah, excuse

19   me, of Sangin, there's an area called Musa Qala, and you

20   spell that M-u-s-a q-a-l-a.      Very strong area of Taliban.

21   You're going to fight when you went up there.         And we had

22   some forward operating bases in those areas.         And if we

23   left, there was going to be a fight.

24              If you go further north of Lashkar Gah, 20 miles

25   or so, we had an area called Nowzad, N-o-w-z-a-d, which is
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1    pretty much abandoned of all government forces and was full

2    of Taliban.

3               I sent 2, 7 Marine battalion up there to initiate

4    the police training.     Again, a lot of firefights in that

5    area, a lot of casualties.

6               If you went further north, there was a wadi.            And

7    a wadi is a washed-out riverbed.       It could be a few miles

8    long.    It could be a few feet.     It could -- it was depressed

9    20, 30 feet.    And that's where they hid their supplies.

10              They had stacks of supplies, of ammunition, food,

11   clothing, rifles, components of IEDs, and things of that

12   nature in that area.     So it was very rich in that whole

13   area, especially in the rural areas where the Taliban had

14   control and moved about freely.

15        Q     So you mentioned the possibility of firefights

16   when your forces entered these areas.        Did ARSIC forces

17   enter these Taliban strongholds regularly?

18        A     Yes; in all four provinces.       We weren't afraid to

19   go in.   We went in as often as necessary.

20        Q     Do you remember any occasions in Helmand Province?

21        A     Yes.

22              In Nowzad specifically, we sent 2, 7 Marines up

23   there, one of their rifle companies.        And as soon as they

24   got on the ground, they were hit by enemy fire, that there

25   was a town up there, Nowzad; it was completely abandoned.
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1    Taliban came down from the north and engaged our forces with

2    rocket fire, rifle fire, things of that nature.

3         Q      Were there any of these Taliban strongholds in

4    Kandahar Province?

5         A      Yes, several in Kandahar.

6                So just to orient you on the map, you see the city

7    here.    If you go directly to the north, was

8    Arghandab Province.       You go down to the south -- well, to

9    the northwest was a very strong point called Zhari,

10   Z-h-a-r-i.

11               To the southwest was an area called Panjwai,

12   P-a-n-j-a-y-i [sic].

13               And to the east, we had another small area called

14   Alakozai, A-l-e-k-o-w-z-a-i [sic], full of Taliban.          That

15   area was intersected by the Ring Road, which was a road that

16   encircled the entire country of Afghanistan, very strong,

17   rich area full of Taliban.       It was the home of the Taliban.

18   It was one of theirs from historical purposes.

19        Q      Did your forces enter these strongholds?

20        A      Yes.   Yes.    We entered them all the time,

21   especially in Zhari/Panjwai.       But we had several forward

22   operating bases.

23        Q      What happened when your forces entered these

24   strongholds?

25        A      Very strong firefights, very sophisticated
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1    firefights.   They were pretty well-trained, surprisingly.

2               But as soon as we crossed into that area, they

3    would engage with us and engage pretty tenaciously.

4         Q     How about in Uruzgan Province, were there any

5    Taliban strongholds there?

6         A     Yes.

7               So if you're looking at the map and you see

8    Tarinkot, the rest of the area is pretty rural, and that

9    area was pretty much where the Taliban went about freely.

10        Q     And in Zabul Province?

11        A     In Zabul Province, you see Qalat.

12              Go to the north.     I discussed the Day Chopan a

13   little bit ago.    They were full in that area.       This is about

14   30 or 40 miles north of that area.       There's a mountain pass

15   where they infiltrated in from other areas, a very strong

16   presence in there.     We had some forward operating bases up

17   there that would be engaged regularly.

18              To the south of the Ring Road -- so the Ring Road

19   goes through Qalat City also.       To the south of there, we had

20   three or four forward operating bases set up in kind of like

21   in a U-shaped pattern, 10 miles apart.

22              South of that area, it was all Taliban, engaged

23   with them freely on a regular basis.

24        Q     Did you determine what the Taliban was doing in

25   these particular strongholds?
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1         A     So I felt that was an area where they organized

2    their forces.     They conducted training, gathered

3    intelligence, exfiltrated forces out to attack us.          They

4    shot rockets from those areas at our bases or infiltrated

5    out of those areas.     So it was a safe haven for them, if you

6    will, if we weren't there.

7         Q     Did the Taliban conduct attacks outside of these

8    strongholds?

9         A     Yes.    They would leave the area all the time.         And

10   they would conduct rifle fire against us, rocket fire, and

11   place IEDs, the improvised explosive device, along the

12   roads; conduct RPG, rocket-propelled grenade, attacks

13   against the NATO forces and my forces.

14        Q     Colonel McGrath, were you aware of any other

15   terrorist groups operating in this four-province area during

16   the time period?

17        A     There was discussions there was some al-Qaeda.

18   They were extremely diminished to the east.         We had some

19   Haqqani Network that were in the area also and providing

20   what we -- what I felt -- my intuition was they were

21   infiltrating weapons and tactics and things like that.

22        Q     You mentioned the Haqqani Network.        How does that

23   relate to the Taliban?

24        A     Well, you have Taliban, and then you kind of have

25   Haqqani Network.     They were a very hard-core Taliban, if you
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1    can walk with me on that.

2               They were determined to overthrow the government.

3    They were very well-organized, very well-resourced, and

4    were -- very easily exported what they had into the rest of

5    the country, whether it was to the east of Zabul or the west

6    into our area, RC South.

7         Q     And where within the four-province area were your

8    forces located?

9         A     I'm sorry?

10        Q     Where within this four-province area were the

11   Haqqani Network located?

12        A     They were more to the east of Zabul and along the

13   border with RCE's, Regional Command East, and

14   Regional Command South.      It was an infiltration route

15   leading from the south to the north.

16        Q     During the time you were deployed, were any of the

17   service members assigned to ARSIC killed in action?

18        A     Yes.

19        Q     How many?

20        A     I had 24 soldiers and Marines that were killed.

21        Q     You just pulled something out of your pocket

22   Colonel McGrath.    What is that?

23        A     I kept a series of, like -- well, flashcards, if

24   you will, that identified the soldier or Marine.          As soon as

25   they were killed, I required it.       It's just -- and it gave a
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1    short biography on who they were, what they did, and that

2    sort of thing.

3               And I've kept these with me just as a remembrance

4    of these great Americans and what they did for the nation

5    and for their fellow soldiers and Marines.         And it's

6    something I've carried with me since it happened back in '07

7    and '08.   It's just something that I don't want these great,

8    great people to be forgotten.

9         Q     Are any of those individuals, are their family

10   members plaintiffs in this case?

11        A     Yes.   I understand Lieutenant Colonel Walton here;

12   Sergeant Walls, Johnny Walls; Lance Corporal Ivan Wilson of

13   2, 7 Marines; and Sergeant First Class Chris Henderson, who

14   we have here.

15        Q     And were any members of your team wounded in

16   action?

17        A     Yes.   We had 100-plus, maybe more, that were

18   wounded in action through our period while I was there in

19   command.

20        Q     Can you giving a rough estimate of how frequently

21   teams under your command were attacked?

22        A     We were attacked on a regular basis.

23              If you went outside the FOB, you had to be

24   prepared that you were going to be attacked, whether it was

25   rifle fire, rocket-propelled grenades, or IEDs.          It was a
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1    constant threat.

2         Q     Were these attacks evenly spaced throughout the

3    year?

4         A     No.   They were prevalent.      As I was saying, you

5    had to be prepared.     But we found that the Afghans had a

6    fighting season that went from, let's say, late April into

7    October about this time period.       And that's where things

8    increased considerably.

9         Q     Who committed these attacks on your forces?

10        A     It was the Taliban.

11        Q     Did you believe any soldiers or Marines that were

12   lost were in attacks committed by other groups?

13        A     No, no.

14        Q     You've mentioned some of these tactics already,

15   but what tactics did the Taliban use for these attacks?

16        A     So they would do the regular rocketing of our

17   bases.   Like Kandahar Airfield, that was a constant thing.

18   And also the different FOBs that we had.

19              However, our primary concern that we had to be

20   alert was the IED attacks that happened along the roads,

21   which could be also augmented through rifle fire,

22   rocket-propelled grenade fires, mortar fire possibly.              Some

23   of those were complex, happened at the same time.          You would

24   see an RPG attack, and then you would hit an IED at the same

25   time.
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1         Q      Now, you were there for over a year.       Did the

2    tactics used for these attacks change over time?

3         A      Yes.

4                Like I said earlier, you had to be constantly

5    aware.   You had to have that situational awareness that you

6    would be hit.

7                But as time passed, in my opinion, they became

8    much more sophisticated in the way they attacked us, in more

9    complexities in their attacks instead of rocketing at us or

10   shooting at us and running away.       Much more sophisticated in

11   the year.

12        Q      How many soldiers and Marines on your teams were

13   killed in 2007?

14        A      2007, I had six killed.     We had Henderson,

15   Lewsader, and Steele.     And then Sergeant Bullard,

16   Sergeant Walls, and Sergeant Philpot were killed.          So we had

17   six killed in 2007.

18        Q      And what attack types were those?

19        A      Those were RPGs and rifle fire.

20        Q      And how many soldiers and Marines on your teams

21   were killed in 2008?

22        A      That would be 18 were killed in 2008.

23        Q      Overall, what attack type were you most concerned

24   about?

25        A      I was most concerned about the improvised
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1    explosive device attacks.

2         Q     Why is that?

3         A     Just prevalent throughout the area.        It was their

4    best way of taking us by butting them on the roads, hiding

5    them on the roads.     So they were -- it's just -- they said

6    the word ubiquitous before.      So they were all over the

7    place.   It's something you had to be prepared for.

8               And we were, to the best of our abilities, but

9    they got us a few times.

10        Q     Before we talk about those IEDs in detail,

11   approximately how many of the 24 Marines and soldiers were

12   killed in IED attacks?

13        A     About, let's see, 21 to 22, I would say, were IED

14   attacks.

15        Q     Can you explain to the Court your understanding of

16   what an IED is.

17        A     So an IED, an improvised explosive device, is kind

18   of a homemade bomb, if you will.       You take explosives, you

19   take shrapnel, put it inside some sort of container, and

20   then you could place it alongside the road and blow it up.

21   And they're pretty lethal, depending on the amount of

22   explosive and the type of shrapnel that you may put inside

23   of the containers.

24        Q     What did you do to counteract the risk of these

25   IEDs?
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1          A    So we had constant training that we conducted on

2    counter-IED training prior to the deployment and then

3    constantly during the deployment.       But specifically,

4    tactics, techniques, and procedures were, as my patrols were

5    out in their Humvees, three to four vehicles, every man and

6    woman was responsible to be on the lookout.

7               Primarily, though, I would have the front vehicle,

8    the guy who was in the front driver's -- not the driver's

9    seat, but the right-hand seat would be looking at every

10   single instance coming down the road, whether it was a

11   vehicle, whether it was overturned dirt, whether it was

12   trash, whether the vehicle coming at them or parked on the

13   side of the road, anything that was out of line, they were

14   to identify it and let the rest of the teams know.

15         Q    Did your teams do anything in advance of going out

16   to counteract the risk of these IEDs?

17         A    Yes.   We had a road-clearance program that we

18   used, if you will.     So in the morning prior to anyone

19   leaving the different forward operating bases, teams would

20   go out, some were larger than others.        And they would go

21   down the road a mile or so, and they would be doing what

22   I was just explaining, looking for anything different,

23   seeing anything that may have changed, and identifying that

24   and hoping to defuse it or wait until the bomb experts came

25   in.
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1         Q     How frequently did your forces find IEDs?

2         A     We found them all the time, all the time.         They

3    were out there -- like I said, it was something that was --

4    they were using against us and were pretty good at it, too.

5    And the Afghans were pretty good at it, too.         They were very

6    good at it.

7               But they -- yeah, all the time.

8         Q     What did your forces do if they identified an IED?

9         A     So you could explode it.      You could shoot at it

10   and blow it up.    You could identify it and later have other

11   teams come out and do the same.       Or you would mark it and

12   then pass by and let other folks know that we saw it by this

13   certain area, if it was a roadside one or something like

14   that.

15        Q     Did the military ever conduct formal studies of

16   these IEDs?

17        A     Yes.

18        Q     What was that?

19        A     It was, we had the joint IE defense organization

20   that was ever there, and they had a headquarters stationed

21   up in Kabul.    I think it's Task Force Paladin was over

22   there.

23        Q     Would they come down to study the IEDS ever?

24        A     Yes.

25              We would also provide data from a bottoms up.
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1    We would let them know where it was, the type of explosion

2    or the size of the explosion, what the results of the

3    explosion were, the damage that may have happened.          We sent

4    that data up.      They would come down sometimes and try to do

5    a forensic, but it was -- we were so far away from Kabul,

6    we -- more it was sending information up to those -- to

7    those folks than them coming down here.

8         Q     How were the IEDs being placed in the roads?

9         A     There would be in place for the most part what

10   I thought was the more rural citizenry was replacing those;

11   the farmers were putting those in.

12        Q     Did the Taliban play a role in these emplacements?

13        A     Oh, yes, absolutely.      They were in cahoots with

14   the Taliban.      They were doing their -- doing their work for

15   them.    Yeah.    I want to be clear about that.     This was

16   Taliban, but they would pay off the rural folks to do that.

17   And if they didn't do it, they'd kill them.         So they had a

18   reason to do it.

19        Q     How would you characterize the relationship

20   between the locals and the Taliban at that time?

21        A     I think they had a working relationship.         Like I

22   said, they sympathized with the Taliban because they didn't

23   trust the central government necessarily.         It was tied to

24   the Tribes.      And -- because they gave them fair justice and

25   things of that nature.
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1               But also, if they didn't do it, they would be

2    killed.   And we had lots of folks, they would go into

3    villages and kill several of them and scare the others to

4    make sure that they would do their bidding.

5         Q     Where did the IEDs and other weapons come from?

6         A     Well, we -- I know they were coming from the south

7    and across from the west from Iran and also from the east.

8               If you look at the map, they're coming from the

9    north, too, you could see them coming down through different

10   infiltration routes.

11        Q     Zoom back out for you.

12        A     Yeah.   I'm sorry.

13              Do you want me to go into that?

14        Q     Go ahead.

15        A     Yeah.   I'm sorry.

16              So if you look at Helmand Province, you can see

17   it's a wide-open area.     As I said earlier, the Taliban

18   controlled everything from the south of the word Helmand.

19   They would infiltrate those up on vehicles, motorcycles, set

20   up caches.   You also saw to the west, they would come across

21   Nimroz and then into Helmand Province.

22              If you look to the south of Kandahar -- well, let

23   me just going Helmand also.

24              So they would also come in from the north down

25   into Helmand Province.     I talked about that wadi that had
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1    all the supplies in that area.

2                If you go to east into Kandahar, there's a town

3    called Spin Boldak.     And that was one of the border points.

4    They would come up through there.

5                Also to the east, they would come from -- the

6    border between RC East and RC South and into Qalat

7    territory.

8         Q      How did these supply routes work?

9         A      So they would move them by whatever means

10   possible, by the trucks, by pickup trucks, motorcycles.

11   They would drop them off at different cache points and then

12   go back and get some more.      And they would drop them off in

13   various parts of those areas.

14        Q      Did you ever find any of these cache points?

15        A      Yes.   We found them several times, pretty

16   significant ones, yeah.

17        Q      Are there any particular ones you remember?

18        A      The largest one I remember out in the east, a very

19   large cache point of 4- to 500 weapons.        Some ammunition and

20   some explosive devices were just on this small house,

21   indescript house that was on a hilltop.        And we found them

22   in there.    So it was right along the borders leading into

23   Zabul Province.

24        Q      Did you ever see weapons manufacturing

25   capabilities in this area?
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1           A   No, I didn't see manufacturing, no.

2           Q   Colonel McGrath, were your forces ever involved in

3    more than one casualty-producing attack in a 24-hour period?

4           A   Yes, yes.

5           Q   And when was that?

6           A   That was on the June 19th, June 20th of 2008.

7           Q   I'd like to walk you through the events of that

8    day, if that's okay.

9               How many attacks were there?

10          A   There were two attacks.

11          Q   And how many soldiers and Marines were killed that

12   day?

13          A   We lost eight Marines and soldiers.

14          Q   Do any of the soldiers killed in those attacks

15   have family members who are plaintiffs here?

16          A   Yes.   Lieutenant Colonel Walton, in particular.

17          Q   When did you first learn of an attack that day?

18          A   The evening of the 19th, as I recall, we got 2, 7

19   Marine commander called me and let me know that four Marines

20   were killed in an IED attack in Helmand.

21          Q   And what happened next?

22          A   What we would do is prepare to receive the bodies

23   of these great Americans.      And we would assemble at the

24   airfield to receive them, conduct honors for them and then

25   move them to the morgues and then start that process of
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1    moving them out of Afghanistan through some of the ramp

2    ceremonies.

3         Q      What happened that day?

4         A      The next morning, I got a call early, around 6:00,

5    that we had another four U.S. soldiers killed in Kandahar,

6    to the east.

7         Q      Did you receive any additional reporting about

8    that attack?

9         A      I did see some photos and things of that nature,

10   but report-wise, we just knew that they were going to --

11   like I said, we were going to receive the bodies at the

12   airfield shortly thereafter.

13        Q      What did the photos that you received show?

14        A      It showed a culvert area that had been -- an IED

15   was underneath the culvert and blew a hole 14 feet across,

16   14 feet deep, and about 45 feet wide across the road.              It

17   was huge.    It was an incredible amount of explosives, a lot

18   different from what we had seen before.

19        Q      After you received those photos, what happened?

20        A      Well, we had to receive the bodies of

21   Colonel Walton and the three other soldiers at the

22   Kandahar Airfield.     So we assembled some of my staff.           I had

23   maybe a dozen, probably less, that rushed up to the airfield

24   because we wanted, as the commander, I was going to be the

25   one accepting the bodies, nobody else.        So we rushed right
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1    up there as fast as we could.

2         Q      What happened next?

3         A      Well, it was really very hectic.       It was a bad day

4    all around.    The helicopters were coming in left and right

5    with casualties.

6                The first group that came in were Afghans, and

7    they whipped the door open.      We ran out.    I didn't know who

8    they were.    But I later found out they were Afghans.         And we

9    started taking their wounded and dead off.         The only problem

10   was they were intermingled.      Usually you separate the two.

11               So we're picking up one guy who's alive, the next

12   guy who's dead.    I wasn't sure who was alive or who was

13   dead.    And we're trying to do it respectfully, but it was --

14   I mean, there was just so many.       There were more than a

15   dozen inside of there.     Took them back to some other

16   ambulances to move them out.

17               But it wasn't my guys, so we were still there.

18   So we waited around.     More helicopters came in and more

19   wounded came off and escorted them.        But we were expecting a

20   Chinook helicopter, one of those big helicopters.          I don't

21   know if you're familiar with the big -- but another

22   helicopter came in.     And it was gray-colored, which means it

23   was a special ops, special operations helicopter.

24               And we go out and help more wounded off.        We went

25   out with the doors open, and there were the bodies of my
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1    soldiers.    It was -- it was -- I've seen a lot there.            This

2    was a little striking.

3                I'd just been with Colonel Walton and his three

4    guys two to three days earlier, out with them.         But they --

5    usually you come in a body bag.       They had been wrapped in a

6    VS17 panel, which is kind of like an orange vest that you

7    may see that we used to bring in aircraft and identify

8    positions in the ground, kind of like a vest you would see

9    on the roadside crews.     They were wrapped in those.       And we

10   weren't expecting that.

11               But anyway, we did the proper thing.       I took them

12   off.   I mean, we literally carried them, brought them over

13   to the side of the airfield.      We paid our respects, had a

14   short prayer, saluted, said a few words about them.

15               It was -- you know, it was very striking because

16   they looked like they were sleeping.        It just struck me.

17   And they were -- you know, you're talking to them three days

18   earlier and here -- you know.

19               So then, you know, we would look at them.        And I

20   would -- they're at peace.      You know, what's happened,

21   happened.    They're at peace now.

22               But what struck me, this one the hardest -- and I

23   used to think about it all the time -- was in about 12 or 18

24   hours, their families were going to be notified that their

25   loved ones were killed in action.       There's going to be that
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1    knock at the door.     And men in uniform were going to be

2    there, and they were going to let their family member, the

3    wife, the son, whomever, that their loved one had been

4    killed in battle.

5                And that's a moment, I think, will be imprinted in

6    their brains for the rest of their lives.         They'll know

7    that -- the time it happened.       They'll know the weather

8    outside.    They'll know every single detail.       It will be with

9    them constantly.

10               It just stuck with me, something that just made it

11   very personal.    But it just shows the dedication that these

12   gentleman had, these soldiers had that went forward into

13   battle.    I had very, very good soldiers, sailors, airmen,

14   Marines.

15               I had nobody fail to go into battle.       Nobody said,

16   I can't do this or that.      They would come off sick beds.

17   They would stay extra time to fight and do what they were

18   doing for their fellow soldiers, sailors, airmen, Marines.

19               And then you see this on these gentlemen who were

20   dead.   And you just, you know, thank God there's men like

21   them who weren't afraid to go forward and fight these

22   terrorists.

23               And they're bad folks, the Taliban.       I don't care

24   what anybody says.     They're vicious killers.

25               MS. KNOFCZYNSKI:    Thank you, Colonel McGrath.
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1               THE WITNESS:    Yes.    I'm sorry.    I have some

2    rambling there, but excuse me.

3               MS. KNOFCZYNSKI:     I have no further questions.

4               THE WITNESS:    Okay.    Thank you.

5               THE COURT:    All right.

6               Colonel, thank you very much for coming.         That

7    completes your testimony.      We appreciate it very much, and

8    all the best to you.

9               THE WITNESS:    Thank you.

10              THE COURT:    Why don't we take our afternoon break,

11   and we'll resume in 15 minutes with your next witness.

12              Thank you.

13              COURTROOM DEPUTY:      All rise.

14              (Recess from 3:08 p.m. to 3:26 p.m.)

15              COURTROOM DEPUTY:      All rise.   The Honorable Court

16   is in again session.     Please be seated and come to order.

17              THE COURT:    Mr. Branson, we're ready?

18              MR. BRANSON:    Yes, Your Honor.      A couple

19   housekeeping things first.

20              THE COURT:    Oh, we love housekeeping.

21              MR. BRANSON:    So we appreciate you starting early

22   this morning.    I think we're actually running a bit of ahead

23   of schedule, given the way the testimony is coming in.             With

24   your permission, we were going to have this be our last

25   witness for the day.
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1                THE COURT:    That's because you don't have another

2    witness here.

3                MR. BRANSON:    We actually do have another witness,

4    we just have to go out of order, so we are prepared.

5                THE COURT:    All right.

6                MR. BRANSON:    The way that I think this is

7    trending is that we'll be done by Wednesday morning.

8                THE COURT:    Okay.

9                MR. BRANSON:    We have our last witness,

10   August Cabrera, who unfortunately can't get in until

11   tomorrow.    So she won't be available to testify until

12   Wednesday morning.      But I'm pretty sure that everybody else

13   we'll finish tomorrow.      So if that plan sounds okay with

14   you, then we'll proceed.

15               THE COURT:    It all sounds fine.     Go right ahead on

16   that plan.

17               MR. BRANSON:    Thank you, Judge Bates.

18               My colleague, James Ruck, is going to present our

19   next witness.

20               THE COURT:    All right.

21               COURTROOM DEPUTY:     Raise your right hand.

22               MR. RUCK:    Good afternoon, Your Honor.      Plaintiffs

23   call Sergeant Jared Lemon.

24               COURTROOM DEPUTY:     Good afternoon, Sergeant.

25   Please stand and raise your right hand.
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1               (Witness is placed under oath.)

2               DEPUTY CLERK:     Thank you.

3               THE COURT:    Good afternoon.

4               THE WITNESS:    Good afternoon, sir.

5               THE COURT:    Mr. Ruck.

6                                   - - -

7    JARED LEMON, WITNESS FOR THE PLAINTIFFS, SWORN

8                                   - - -

9                            DIRECT EXAMINATION

10   BY MR. RUCK:

11        Q     Good afternoon, Sergeant Lemon.        What do you do

12   for a living?

13        A     Right now, I'm a student.

14        Q     Where at?

15        A     The University of California, Riverside.

16        Q     What are you studying?

17        A     I'm studying mechanical engineering.

18        Q     And what type of degree is that for?

19        A     It's a bachelor's of science.

20        Q     What year in the program are you?

21        A     I'm the third year.

22        Q     Is that a full-time program?

23        A     Yes.

24        Q     Prior to this engineering program, did you have

25   any education, civilian education, post high school?
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1           A   Yes.   Directly after high school, I started an art

2    major program.

3           Q   Where was that at?

4           A   I started at Southern Utah University, and then I

5    continued it at the University of Alaska, Anchorage.

6           Q   Sergeant Lemon, how long were you in that program

7    for?

8           A   Roughly two, maybe three years, but definitely two

9    years.

10          Q   So what did you do after that art program?

11          A   I was -- at that time, I was working at Costco.

12   And the payroll lady, her husband was a jeweler.          So I ended

13   up getting a job making jewelry.       I brought in all my stuff,

14   and he ended up putting me to work.

15          Q   How long did you work as a jeweler for?

16          A   I worked for five to five -- five years

17   professionally.

18          Q   Was that full time?

19          A   Yes.

20          Q   And what did you working as a jeweler entail?

21          A   So I did pretty much everything.        I worked with

22   gold, silver, platinum, diamonds, precious stones.          I did

23   hand engraving, stone setting, fabrication, repair work,

24   just anything and everything.       It was an art form.

25          Q   Did you enjoy jewelry making?
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1           A     Oh, I loved it.   It was my passion.     Like ever

2    since I was five, I was -- I've taken art classes and just

3    various different art mediums.

4                 So it was -- I mean, art was my passion.       And

5    being a jeweler was, you know, working in that passion.

6           Q     So, Sergeant Lemon, what prompted you to leave

7    jewelry making.

8           A     I witnessed 9/11 happen.    I witnessed the towers

9    fall.      I was 20 at the time.

10                I was in this program trying to become a jeweler

11   and all that.     So I was doing what my passion was.       But I

12   always had, like -- I always had this sense of patriotism.

13   Like, both my grandparents were in World War II.          My dad, he

14   always wanted to serve.      But he took -- he got a fish hook

15   in his eye when he was a kid, so he couldn't serve.          But he

16   definitely pushed on the whole patriotism within our family.

17   And so I feel it was like a calling.

18                And I had developed my skill of making jewelry to

19   the point of I figured I could go serve my country and then

20   always come back to it.

21          Q     So when you joined the Army, what did you join

22   for?

23          A     I joined as an 18 X-ray, which is a Green Beret

24   pipeline.     It's a two-year pipeline, but you can get dropped

25   anytime along the way.
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1         Q     Did you finish that pipeline?

2         A     I ended up getting dropped.

3         Q     So then what ultimately was your job in the Army?

4         A     So ultimately I was airborne infantry.

5         Q     What training did you receive as an airborne

6    infantryman?

7         A     So I went to one-stop unit training, which they

8    send all infantry guys to advanced -- advanced infantry

9    training and tactics.     And then from there, I went to

10   airborne school.

11        Q     When you finished all this initial training, what

12   unit did you get assigned to?

13        A     I was sent to the 82nd Airborne Division,

14   4th Brigade, 2nd in the 508, the Parachute Infantry

15   Regiment, Bravo Company, 3rd Platoon.

16        Q     Sergeant Lemon, how many years did you ultimately

17   serve in the Army?

18        A     Seven and a half to about eight.

19        Q     In your Army career, how many combat deployments

20   did you ultimately do?

21        A     I did two.

22        Q     Where was your first deployment to?

23        A     Afghanistan in the RC East.       We were out of

24   Ghazni Province.

25        Q     And when was that?
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1         A     Late 2007 to the early part of 2008.

2         Q     When did you deploy on your second combat

3    deployment?

4         A     So it was -- the second deployment was to

5    Afghanistan again, and it was around August of 2009.

6         Q     What was your role during the second combat

7    deployment?

8         A     So in the second combat deployment, I was a senior

9    lower enlisted, senior rifleman.

10              I started out as a specialist, and then I had made

11   sergeant rank while on deployment.       So I got moved up to

12   team leader spot.

13        Q     What did serving as a team leader consist of?

14        A     So within a squad, there are two teams.         And being

15   a team leader, I was in charge of three other soldiers.

16        Q     Sergeant Lemon, you mentioned you went Afghanistan

17   on your second deployment.      Where specifically did you go?

18        A     We went to RC -- RC South.       It was

19   Regional Command South.      It was -- we started out in

20   Helmand Province and moved to Kandahar Province.

21        Q     Were you married at the time of this second

22   deployment?

23        A     Yes.

24        Q     Did you have children at this time?

25        A     I had one kid.     One -- it was my daughter.       I had
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1    my daughter at the time.

2         Q     Were you a U.S. citizen at the time of this second

3    combat deployment?

4         A     Yes.

5         Q     Are you sill a U.S. citizen?

6         A     Yes.

7         Q     Sergeant Lemon, what was your initial mission in

8    Helmand Province during the second combat deployment?

9         A     So initially we were supposed to mentor this group

10   called the ANCOP, which stands for Afghan National Civil

11   Order Police.     And they were supposedly like the best police

12   force in Afghanistan.     And they were going to go around with

13   us, around to each police precinct, take over the area, send

14   the police force that was there to Kabul for national police

15   training; and then when they came back, we would move to the

16   next area.

17        Q     Did your unit do any other missions during your

18   second deployment while in Helmand?

19        A     So on top of mentoring the ANCOP, we were also

20   doing presence patrols and security patrols.

21        Q     Why were you conducting these presence patrols or

22   security patrols?

23        A     To secure the area from the enemy.

24        Q     Who was the enemy?

25        A     RC South, the main enemy was the Taliban.
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1         Q      Is this what your unit did during the entirety of

2    the second combat deployment?

3         A      No.    We ended up getting re-tasked.

4         Q      So what happened?

5         A      So there was a -- there was a Stryker unit out of

6    Seattle Washington, 117 Strykers, but they had so many

7    combat fatalities and injuries that they were

8    combat-ineffective.

9                And so they couldn't continue the mission that

10   they had.    And our commander volunteered our unit to take

11   over that mission.

12        Q      Where was that Stryker unit located in

13   Afghanistan?

14        A      They were in the Arghandab River Valley, just

15   north of Kandahar City in Kandahar Province.

16        Q      So, Sergeant Lemon, I would like you to direct

17   your attention to the screen.       It's a demonstrative.

18               What is this screen generally showing?

19        A      That shows Afghanistan.

20        Q      I've now circled an area on this map of

21   Afghanistan.      What's that circle generally indicating?

22        A      That's roughly where I got blown on this.        I mean,

23   it looks about the Arghandab River Valley within

24   Kandahar Province.

25        Q      So, Sergeant Lemon, you mentioned that your unit
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1    was going to replace the Stryker unit.        What were you guys

2    ultimately going to replace them to do?

3         A     So that area, they had gotten hit so much, it

4    was -- our main mission was to pacify and secure the area.

5         Q     Pacify and secure the area from who?

6         A     The Taliban.

7         Q     And when did your unit move from Helmand down to

8    the Arghandab River Valley in Kandahar Province?

9         A     It was towards the later half of 2009.         I want to

10   say November.

11        Q     When you arrived in the Arghandab River Valley,

12   did your unit encounter the enemy?

13        A     Yes.

14        Q     Generally speaking, what did those enemy

15   encounters consist of?

16        A     The majority -- the majority were improvised

17   explosive devices.

18              We had a few firefights, a few sporadic,

19   direct-fire incidents.     But I would say the overwhelming

20   majority of incidents were just an improvised explosive

21   devices.

22        Q     So you just mentioned these improvised explosive

23   devices.   What types of improvised explosive devices did you

24   see while in the Arghandab River Valley.

25        A     When we first got there, most of the -- most of
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1    the bombs were designed for big vehicles like the Strykers.

2    We were finding a lot of, like, daisy-chained 155 rounds,

3    double-stacked, triple-stacked, anti-tank mines, big jugs of

4    homemade explosives.     They were big, designed for vehicles,

5    armored vehicles.

6               And over time, they got smaller.        The design for

7    just regular personnel walking around, because our unit --

8    our tactics were different.      We were all on foot, and we

9    didn't drive anywhere.

10        Q     Sergeant Lemon, can you provide some examples of

11   these smaller -- you said, antipersonnel mines.

12        A     So they were, like, Chinese or Russian-made -- we

13   called them toe poppers.      But they were designed to just

14   blow off, like, a leg, injure and -- just injure and maim.

15              But what the Taliban were doing were they were

16   taking dead cord and running it from the mines to jugs of

17   homemade explosives.

18        Q     How were these IEDs typically triggered from what

19   you've seen?

20        A     In our area, we found crushed plates, pressure

21   plates, trip wires, and then mainly just stepping on them

22   from being anti-personnel mines.

23        Q     Sergeant Lemon, where did your unit find these

24   IEDs?

25        A     They were everywhere.      It was like a minefield.
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1    We were walking around in a minefield.        We had a map of our

2    area.    And every incident, every IED that we found, every

3    explosion, we would mark on that map.        And it was just -- it

4    looked like someone took a shotgun to the map.

5         Q      Sergeant Lemon, did your unit ever capture anyone

6    placing these IEDs?

7         A      Yes.

8         Q      What happened?

9         A      So we had surveillance, aerial surveillance that

10   would look over our area of operations.        And aerial

11   surveillance saw these two guys that were digging in the

12   road.    And most people don't just dig in the road there

13   unless they are implanting IEDs.

14               So a Ranger Batt called our unit up, wanted us to

15   encircle these guys, cordon off the area, make sure they

16   didn't just run away.     And then they were going to come in

17   and scoop them up.

18               And we circled them, and then we got word from

19   Ranger Batt that it wasn't the guys that they were

20   specifically looking for, so they weren't going to come.           So

21   our commander at the time figured, we're just going to round

22   them up ourselves because they were in our area, up to no

23   good.

24        Q      So do you know who they were?

25        A      So we circled on them and grabbed them.        And, you
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1    know, everyone in that area would always say, Hey, I'm a

2    farmer.

3                But when we grabbed them, their second knuckles

4    down on both hands, the last part of their fingers were

5    bleached white from mixing chemicals.        So you could tell

6    that they were mixing chemicals.

7                And then we had both our lieutenant and our medic

8    individually, separately test both guys for explosive

9    residue on their hands, and both guys came up positive for

10   both tests.

11          Q    So, again, who did you think they were?

12          A    So because of all that, we -- we believed them to

13   be the Taliban.

14          Q    Sergeant Lemon, now I want to transition.        Let's

15   talk about April 11th, 2010.      What was your mission that

16   day?

17          A    That day, we were supposed to go out and set up an

18   observation post and just watch and listen all night for any

19   movement.

20               There was a curfew in the area, and so anyone out

21   at night was considered to be up to no good.

22          Q    How many people went on this mission that day?

23          A    It was an 11-man patrol.     I was a bravo team

24   leader, a trail team leader.      So I was the tenth man.          And

25   my sogerner, specialist, Joseph Caron, was the eleventh man.
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1           Q      How far was the observation post from your base?

2           A      Roughly about 600 meters.    It wasn't -- it wasn't

3    too far.

4           Q      And how was your unit moving from your base to the

5    observation post?

6           A      On foot.

7           Q      And you said you were moving in a single file?

8           A      Yes.

9                  So it was nighttime.   I think we stepped out

10   around 1:00, 12:00 or 1:00, in between there.

11                 But it was nighttime, so we were walking with

12   night vision, which is green vision.

13                 And because of the IEDs in the area, we weren't --

14   we weren't spreading out.      We were walking all in a single

15   file.      So hopefully, there wasn't a chance of stepping on an

16   IED.

17          Q      So what happened as your unit departed for this

18   mission?

19          A      So it was really -- it was a really rainy, like,

20   just a stormy night.      And during the rainy, stormy

21   conditions, we wouldn't be able to have air assets or, like,

22   a MedEvac if we needed it or anything like that.

23                 And so they were wary about pushing us out.          But

24   we went to the gate, like, two, three times.         And then

25   finally air was amber is what they said, and it means that
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1    the helicopters could fly possibly.

2                So they pushed us out, and we ended up moving out.

3         Q      So as you left your base, then what happened?

4         A      We made it about 400 meters away from the FOB.           We

5    were moving through the fields, and we got to a road.              And

6    we skirted the road for maybe 50 feet and then got to this

7    wall.    And the wall was walling off an orchard.        And we went

8    over the wall into the orchard.

9         Q      Sergeant Lemon, would you please describe, so what

10   happened once your unit reached this wall?

11        A      So everyone went over in the same spot.        I got

12   over the wall.    And as soon as I got -- like, we're carrying

13   anywhere from like 70 pounds -- 70 pounds would be a really,

14   really light load, but 70 to 100 pounds' worth of extra

15   gear.

16               So going over walls, doing physical stuff with all

17   this gear on, it's a little bit harder.        I got over the

18   wall.    I turned around, and I went to go help my sogerner,

19   Joseph Caron, get over the wall.       I took his gun from him.

20   He had a machine gun, and he used both hands to get up over

21   the wall.    As soon as he got over the wall, I gave him back

22   his machine gun.

23               I turned around.    I took two steps.     And I hear

24   this really loud ping like someone taking a baseball bat and

25   hitting, like, a metal pole in the ground.         That's what it
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1    sounded like anyway.

2         Q     So what happened after you heard this very loud

3    ping?

4         A     I got knocked out.

5               I got -- I was so dazed and confused,

6    I didn't know what happened at first.

7               I remember -- I remember opening up my yes and not

8    seeing any more green vision.       And it looked as if stuff was

9    kind of like falling around me.       I couldn't totally tell,

10   but that's what I could kind of see.

11              And then I heard Caron's last breath.         He took,

12   like, his last breath that he had in his lungs.          I heard it

13   go by this voice box, which made this really, really low --

14   it -- sorry.

15        Q     It's okay.

16              THE COURT:    Take your time, Sergeant.

17              THE WITNESS:    It made a really low, like, moaning

18   noise.   And as soon as I heard that, it was, like,

19   everything came back to me.      My senses came back to me, and

20   I realized, oh, crazy, we just got blown up.

21   BY MR. RUCK:

22        Q     So, Sergeant Lemon, after you heard that moaning

23   noise from Specialist Caron and you said you just realized

24   that you had been blown up, what did you do next?

25        A     Oh, man.    Sorry.
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1         Q      Please take your time.

2         A      So as soon as I realized we got blown up, I got on

3    the radio.    Like, I could move my left hand.       I was in total

4    darkness.    So I couldn't totally see what was going on.          I

5    didn't feel pain yet.     I knew I couldn't move on the side of

6    my -- I couldn't move my right side, but I could move my

7    left side.

8                So I had my radio here, because I was

9    right-handed.    And I had my -- normally you have your hand

10   on your gun, you never release your gun hand.

11               So my radio was on the left side.       I called out

12   for -- I called them up, you know, called up saying, Hey, we

13   just got blown up.

14               My squad leader at the time says, Hey, we don't

15   know where you got thrown to.       Just start yelling.

16               So I got off my radio and I just start yelling,

17   I'm over here.    I'm over here.

18               My best friend at the time was -- he was the alpha

19   team leader.    So he was the point guy.      He was the guy that,

20   you know, was leading the way.       And he's the first guy I

21   saw, like, because I got blown and flipped around backwards.

22   So I was not facing where we were.

23               And first guy I saw, he came over, put a

24   flashlight on me.     And I looked over and it was just --

25   I just remember seeing nothing but red, like, just tons of
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1    blood just coming out.

2                And as soon as I saw that, all my training was

3    just like -- all the training that they put in you just

4    kicks into place.     And you're like, Okay, I need to get into

5    the shock position.     I need to loosen my clothing.       I need

6    to take off my gear off.      I need to take my combat pill

7    pack.    I need to do -- and all those things just start

8    coming into your head and you just start doing them.

9                And because my best friend was there, I figure,

10   okay, he's going to start doing the first aid on me.

11   I don't -- I don't have to worry about me anymore.

12               And he ended up putting the tourniquet -- like, he

13   cut -- I had a backpack that the straps were going through

14   my arm, he cut the straps out of my arm, pulled them out of

15   my arm, and then put a tourniquet as high up on my arm as he

16   could.

17        Q      So you just mentioned a tourniquet.

18   Sergeant Lemon, what's that used for?

19        A      It's used to stop severe, severe bleeding in the

20   limbs.    Like, artillery [sic] -- you know, artillery

21   bleeding, like the arteries, just bleeding out.

22               It stops you from bleeding out.

23        Q      So what happened next after this tourniquet was

24   placed on your arm?

25        A      So my squad leader called up the 9-Line MedeVac to
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1    get a MedeVac helicopter to come pick me up.          And we were in

2    an orchard.    So the helicopter couldn't land in the orchard.

3    And they set up an HLZ in the next field over.          And they

4    said, Hey, we're going to help you walk over there, but

5    you're going to have to carry your own arm.

6                I said, Okay.

7                They help stood me up and they put my arm in my

8    hand.

9                And it was heavy, really heavy and jiggly and

10   that's kind of when I realized it was messed up.

11         Q     So you just mentioned that your arm was heavy and

12   jiggly and that you had to carry your own arm.          Can you

13   describe for the Court, what was happening with your arm?

14         A     So it was -- I had taken a huge chunk of shrapnel

15   into my bone that just pulverized it.        And so my arm was

16   connected to my body through soft tissue only.          There was no

17   bone holding it to my body anymore.

18         Q     And, Sergeant Lemon, which arm was this?

19         A     My right arm.

20         Q     Before this attack, were you right-handed or

21   left-handed?

22         A     I was -- I was a right-handed artist.        I was

23   right-hand dominant.      It was an amazing thing.

24               Like, we can't -- we can't make arms as good as

25   we're born with, you know.
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1          Q      So you just described walking over to the

2    helicopter -- to the MedEvac helicopter.         What happened once

3    you got to the MedEvac helicopter?

4          A      So by that time, I had lost so much blood, I was

5    really, really woozy.      I remember being so tired and so

6    thirsty.

7                 But as soon as I got on the helicopter, they

8    brought Caron.     They brought his body and put him behind me.

9                 And then the crew chief or medic or whatever was

10   on the helicopter, I just remember him getting a needle

11   ready.     And as soon as he got the needle ready, he put it in

12   me and I passed out.      And he knocked me out.

13         Q      So, Sergeant Lemon, after you were knocked out in

14   the MedeVac helicopter, what's the next thing that you

15   remember?

16         A      So the next thing, I woke up at Kandahar Airfield

17   in the hospital there, and they were cutting off my right

18   boot.     And I remember that vividly just because, as an

19   infantry guy, we use -- our boots were our mode of

20   transportation, so you kind of had a love for your boots.

21                But, yeah, they were cutting off my right boot,

22   and then they proceeded to cut off my clothes and all that

23   stuff.     And they woke me up mainly to ask me if I wanted to

24   save my right arm.     And, of course, you know, yeah, yes.

25         Q      So then you told them yes.     So what did the
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1    doctors do, then?

2          A     They proceeded to do limb-salvage operations and

3    try and save my arm as best as possible.         They put a -- they

4    did a lat flap to repair my arm, you know, my tricep that

5    was missing.    They did -- they put a giant metal X-fix brace

6    on the outside of my arm with pins that went into the bone

7    to try to hold it together.

8          Q     You just mentioned a lat flap.       What is that?

9          A     The lat on the back -- on your lat muscle.

10               So on my -- on me, the right lat muscle, they cut

11   mainly out of my back, left it attached, and flapped it up

12   here to cover my tricep.      My tricep was completely blown

13   away.

14               And so it -- it's what allowed them to, I guess,

15   save as much of my arm as possible, as they did, because if

16   they didn't do that, I probably would have been a shoulder

17   disartic.    It would have been right up at the shoulder.

18         Q     So, Sergeant Lemon, what's the next thing that you

19   remember?

20         A     Next thing I remember, they proceeded to put me

21   into a drug-induced coma.      And then I woke up from that

22   drug-induced coma coming off of the airplane in Germany.

23   And I remember the nurse that was taking me off the plane

24   goes, Oh, dude, you almost made it home.

25               And apparently, there was a volcano in Iceland
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1    that went off and stopped all air traffic, so I got stuck in

2    Germany for about two weeks doing surgeries there.

3          Q      So then what happened in Germany during these two

4    weeks?

5          A      They did surgeries every day.      Like, they were

6    continuing to try and do the limb salvage.

7                 And then, also, that big metal brace on my arm, it

8    kept on -- because the metal, it likes to collect -- like,

9    infection likes to collect around metal for some reason.            I

10   don't know exactly the medical reason why, but that's what

11   was going on.      And the dirt in Afghanistan that got blown

12   into me, it was just full of infection.

13                So they were battling infection and doing a lot of

14   cleanout surgeries at that time as well.

15         Q      At this time in Germany, Sergeant Lemon, were you

16   able to walk?

17         A      No.   I took a blast that went through my whole

18   body.     I took shrapnel from my butt to my head.       I was

19   pretty devastated, and I couldn't even walk at the time.

20         Q      So during this time in Germany -- you said you

21   spent two weeks there -- what were you feeling?

22         A      That was the worst time of my life.

23                Yeah.   I went from -- I went from the best

24   physical shape of my life, fighting -- fighting wars for

25   this country, to being in the worst physical shape of my
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1    life.     Like, I couldn't even walk.     I was stuck in a

2    hospital bed.

3                I watched all the work I put into my muscles like

4    shrinking.    Everything shrunk and I got fat.

5                It was -- I was super, super depressed at that

6    time.

7                And then being -- being destroyed and stuck in

8    Germany, I didn't know anybody.       So it was like I was alone.

9                Like, I kept on having the feeling that, like,

10   there has to be someone out there that's living their best

11   life and having the best time because I was living the worst

12   time.     Like.   It was the worst time in my life.

13               And, like, the thought of one day me being that

14   person was what kept me going.

15         Q     So, Sergeant Lemon, after these two weeks in

16   Germany, where did the Army take you next?

17         A     So Germany they sent me to Walter Reed in

18   Washington, D.C., here.

19         Q     At Walter Reed, did the Army do any follow-up

20   treatments on your right arm?

21         A     Yeah.    I got -- when I got to Walter Reed, they

22   continued to try and fight the infection and say -- you

23   know, do limb salvage, save my arm.

24         Q     What happened with this limb salvage?

25         A     So when I first got there, they were taking a
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1    pulse in my hand, in my right hand.        And the big hope was

2    that the pulse would get a lot stronger.

3                But over time, the pulse got weaker and weaker.

4    And one morning I woke up to my trigger finger from the nail

5    down was black.     So, I mean, that -- it was dead.       You know,

6    it wasn't coming back.      That's -- you know, it's going to

7    have to be amputated from at least there down, you know.

8                And so I was, like, watching my hand slowly die

9    part by part in front of me.       It just -- the limb salvage

10   wasn't working.

11         Q     Sergeant Lemon, I'd like you to turn to page 1 of

12   Exhibit 293 in your binder.       I'm also going to put it up on

13   the screen.

14               Sergeant Lemon, do you recognize this picture?

15         A     Yes.

16         Q     Who is that in this picture?

17         A     That's me.

18         Q     When and where is this picture from?

19         A     That's, I would say, shortly after I got blown up,

20   around April, May of 2010.       And it's in the -- it's at

21   Walter Reed.

22         Q     What's this picture showing?

23         A     So that shows them trying to do the limb salvage

24   with the metal -- big old metal brace on my arm.

25         Q     And what's the purpose of this big brace on your
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1    arm?

2           A     See, I took a chunk of shrapnel that just

3    pulverized my upper arm here.       My buddy said he took it out

4    of me.     It was probably about that big.      But it was just a

5    giant metal chunk that he pulled out of my arm there.

6                 And the bone was just destroyed, it was like

7    Humpty Dumpty, you know, broken into a bazillion pieces.

8                 MR. RUCK:    Your Honor, plaintiffs offer

9    Exhibit 293 into evidence under seal pursuant to the Court's

10   September 21st order.

11                THE COURT:    And Plaintiffs' 293 is admitted on

12   that basis.

13                                             (Plaintiff Exhibit 293
                                               received into evidence.)
14

15   BY MR. RUCK:

16          Q     So, Sergeant Lemon, you described the issues you

17   were having with the limb salvage.        What happened next after

18   this wasn't working?

19          A     So all the doctors that had anything to do with my

20   case, surgeons, it was so many doctors.         And like I didn't

21   recognize a lot of them just because a lot of them had, you

22   know, they were only messing with me while I was passed out,

23   you know, and they were all surgeons doing whatever.

24                But so every doctor that had anything to do with

25   my case filled this room.       And then my main doctor proceeds
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1    to outline my whole recovery and how that my hand and arm

2    were just dying in front of me and that the pulse was

3    getting weaker and weaker.

4                And I was still having to do a lot of these

5    cleanout surgeries to remove a lot of the infection.

6                And so they told me that they would continue --

7    you know, do whatever I wanted.       They would continue to

8    fight, you know, to save my arm; but even if they could save

9    it, at best, it was going to be a dead arm at the side of my

10   body and I wouldn't be able to use it.         And so they all

11   recommended that I amputate my arm to, one, help battle the

12   infection; two, shorten my recovery time; and just make my

13   life better, I guess.

14         Q     So what did you decide to do?

15         A     I mean, I was -- that's a hard decision to make.

16               But if, at best, it's just going to be a dead arm

17   at the side of your body, it will just get in the way.

18   That's all I could think of was, like, is it going to get in

19   the way?    Is it going to look, you know, like all shriveled

20   up like a dead arm?

21               So I was like, yeah, I guess if you guys recommend

22   to amputate, let's amputate.       Let's -- and they said they

23   were going to try to save as much of my arm as possible.

24               I remember the surgeon saying, hey, I'm going to

25   try and get you an elbow, but it's all dependent on what
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                                                                           233

1    everything looks like when we get in there.

2          Q     So the Army ultimately amputated your right arm?

3          A     Yes.

4          Q     Sergeant Lemon, would you please describe to the

5    Court in general terms, what was your recovery like from

6    this amputation?

7          A     They said it was going to be -- it was going to

8    shorten my recovery time; but it was a long, long process.

9                I was at Walter Reed for four and a half years,

10   you know.    And then it -- upper limb injuries, especially a

11   dominant arm, it's just difficult.        So many -- so many

12   things.   It's a right-handed world.       So it just -- I still

13   feel I'm recovering.

14         Q     Sergeant Lemon I'd like you to turn to page 1 of

15   292 in your binder.     I'm also going to put the first page up

16   on the screen.

17               Sergeant Lemon, do you recognize this slide?

18         A     Yes.

19         Q     What is it?

20         A     It's a record of my medical care and the ailments

21   or injuries I sustained from war, from being blown up.              And

22   it's -- it covers from 2010 to 2011.

23         Q     And where is this medical record from?

24         A     It's from Walter Reed.

25               MR. RUCK:   Your Honor, plaintiffs offer
     Case 1:18-cv-02065-JDB Document 53 Filed 10/20/21 Page 109 of 143

                                                                         234

1    Exhibit 292 into evidence under seal pursuant to the Court's

2    September 21st order.

3                THE COURT:    Then it is admitted on that basis.

4                                              (Plaintiff Exhibit 292
                                               received into evidence.)
5

6    BY MR. RUCK:

7          Q     Sergeant Lemon, you mentioned the amputation.

8    Would you please describe your other injuries that resulted

9    directly from this attack.

10         A     So, initially, I get hit with a blast wave that

11   rippled throughout my whole body.        I got internal problems

12   mainly, I think, from that, which gave me a traumatic brain

13   injury.   I have PTSD.

14               After the blast wave hit me, shrapnel came in and

15   peppered me from my butt to my head.        I took a giant chunk

16   of shrapnel into my arm.      So it compound-fractured my arm,

17   upper arm bone.

18               My entire tricep got blown away.       Most of my bicep

19   got blown away.     My forearm got shredded.

20               My eardrums got blown out.      And I took -- I just

21   got shrapnel pretty much everywhere.        Looks like someone

22   took a shotgun to me on my back right here.

23         Q     Sergeant Lemon, you just mentioned -- one of the

24   things you mentioned was PTSD.       What is PTSD?

25         A     Post-traumatic stress disorder.
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1           Q    And what is that, post-traumatic stress disorder,

2    for you?

3           A    It's the whole mental aspect of war, the

4    survivor's guilt, the feelings of depression.          It's all that

5    and, like, messes with your memory; but at the same time,

6    you still have memories of things.        And they could flood to

7    you.   Your emotions go, like, out of track.        And they're

8    just up and down.     It's crazy.

9           Q    After your amputation, did you suffer from any

10   follow-on complications?

11          A    Yes.

12               So after the amputation, I had a -- I had a bunch

13   of open wounds.     I had -- I have phantom limb pain or

14   syndrome or whatever.      I feel my whole hand.

15               I developed a bad case of heterotopic

16   ossification, which is just bone growth.

17               It's just a lot of -- lot of mental problems, too.

18          Q    So, Sergeant Lemon, you briefly just mentioned

19   phantom limb pain.     Can you describe, what does that mean?

20   What's the impact of phantom limb pain?

21          A    It's different for everybody.

22               But for me, I can feel my whole hand all the way

23   to my fingerprints.     And when I got blown up, I had my hand

24   holding my rifle.     And it was up at the -- I was ready to

25   utilize it.    And so it got stuck in that position, and it
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1    slowly kind of resided [sic] a little bit, but it's still

2    stuck there.     And it's painful.

3                 I normally have a base pain of about a 2 or 3 out

4    of 10.     And it feels like the Hulk is, like, squeezing it or

5    it's like being pushed into a bucket of pins and needles,

6    almost like it's asleep.

7                 And those are the best feelings.      The worst

8    feelings are it feels like it's on fire or, like, lightning

9    is going through it or parts of it are being cut off.

10          Q     Just to be clear, this phantom limb pain you're

11   describing, which arm is it on?

12          A     It's on my right arm.

13          Q     So the arm that got amputated?

14          A     Yes.

15          Q     How often are you feeling this range of pain?          You

16   described it 2 to 3 to much more severe?

17          A     So the 2 to 3 is every day.     It's every day, all

18   day.

19                The flare-ups, I have these flare-ups that they

20   get as high as 10.     And those flare-ups, maybe once a month,

21   maybe a little bit less, but it's about once a month.

22          Q     Sergeant Lemon, I'd like you to turn to page 3 of

23   Exhibit 293 in your binder.       I'm also going to put it up on

24   the screen.

25                Sergeant Lemon, do you recognize this picture?
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                                                                          237

1          A     Yes.

2          Q     Who is that in this picture?

3          A     That's me.

4          Q     When and where was this picture taken?

5          A     That was December 2010 in Walter Reed.

6          Q     What's this picture showing?

7          A     So that -- that shows my amputated arm.        And I'm

8    holding up a plastic model that they had made me of the

9    heterotopic ossification, the bone.        That's actual bone

10   that's in my arm or that's a model of the actual bone that's

11   in my arm.

12         Q     Was this heterotopic ossification painful?

13         A     Yeah.

14               If you can see how -- you can see in that picture

15   that there's, like, spikes, you can see little, like, spikes

16   and stuff like that.      That's actual bone that's in there.

17               And it was just growing, no random reason or

18   anything.    But these spikes and almost knife-looking blade

19   parts to it.    And those things would stab into me and, like,

20   just poke my soft tissue on my arm.

21               So it was tremendously painful.       They did numerous

22   operations to smooth all that stuff down and remove a lot of

23   the really jagged points.

24         Q     Sergeant Lemon, I'd like to turn to page 1 of

25   Exhibit 292.    Once again, I'll put it up on the screen.
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1    I've blown up some text from this first page.

2                Just to remind the Court again, what's his

3    document from?

4           A    It's the record of my medical care and ailments

5    from Walter Reed from 2010 to 2011.

6           Q    And would you read what I've highlighted on the

7    slide?

8           A    Problems, chronic history of traumatic brain

9    injury.

10          Q    Sergeant Lemon, what is traumatic brain injury?

11          A    It's where you get hit so hard that your brain

12   bounces around inside of your skull and suffers injury.

13          Q    What's the impact of traumatic brain injury on

14   you?

15          A    It's a cognitive injury.      On me, it affects my --

16   it affects my memory a lot.       It affects my word recall.        It

17   affects -- it's hard to remember names, which I guess goes

18   back into memory.

19               It makes concentration hard.       It makes my -- it's

20   hard to focus.

21               It's made school quite -- quite difficult.

22               I've been struggling through the last couple

23   quarters of school, and I think it's because of my memory

24   issues mainly.

25          Q    So you mentioned spending multiple years at
     Case 1:18-cv-02065-JDB Document 53 Filed 10/20/21 Page 114 of 143

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1    Walter Reed.    What types of treatments or therapies did you

2    do while there?

3          A     There wasn't anything that Walter Reed offered

4    that I didn't do.     Like, I did anything and everything -- if

5    they said there's a possibility of it helping, I did it.

6    I did occupational therapy, physical therapy, recreational

7    therapy.    I did acupuncture.     I did eastern medicine things.

8    I did western medicine things.       They did just various --

9    various things for my mind.

10               And I also did a lot of physical, trying to fix

11   physical ailments and stuff.

12               Like, I had these open wounds -- an open wound on

13   my arm for probably a year and a half.         And they did

14   numerous skin grafts and epi grafts and all sorts of, like,

15   ultrasonic wound cleaning to try and get it to heal and

16   close.

17         Q     Sergeant Lemon, I'd like you to turn to page 2 of

18   Exhibit 293 in your binder.       I'm also going to put it up on

19   the screen.

20               Sergeant Lemon, do you recognize this picture?

21         A     Yes.

22         Q     Who's that in this picture?

23         A     That's me.

24         Q     When and where was this picture taken?

25         A     That was shortly after I got amputated.        So around
     Case 1:18-cv-02065-JDB Document 53 Filed 10/20/21 Page 115 of 143

                                                                         240

1    June of 2010 at Walter Reed.

2          Q     What's this picture showing?

3          A     So it shows my amputation, plus the top of my leg

4    there they used as a donor site for skin grafts.          They

5    filleted the top of my leg to repair spots that were missing

6    skin on my arm.

7          Q     Was this skin graft painful?

8          A     That skin graft, that was probably more painful

9    than the actual amputation.       Every day they had to clean out

10   that wound and redress it.

11               So every day they had to pull off the old bandage.

12   And the old bandage would always be -- my wound would be

13   stuck to it, so they would have to basically rip my skin off

14   every single day.     And, yeah, it was -- that was painful.

15         Q     Sergeant Lemon, you mentioned just a while ago

16   doing some mind therapy at Walter Reed.         What's been the

17   mental impact on you from this attack?

18         A     It's -- it put me in a depression, I think.

19   I mean, mentally, it's -- I almost think the mental aspect

20   is worse than the physical aspect.        It's -- I was an artist.

21   I was a right-handed artist before.        I always thought I was

22   going to go back to that.      I had my identity stripped from

23   me.

24               I had -- I had who I was taken from me.        And

25   that's not easy to -- that's not easy on your mind frame,
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1    you know?    It's not easy to think about.       And so it's -- I

2    go to therapy weekly.      I still see a therapist weekly.

3                It took me seven years to start going back to

4    school after I got injured.       And I -- I was lost.     I was

5    just drifting through life mentally.        Like, I didn't know --

6    I still don't even think I know what I'm doing.          Or, you

7    know, even if I can do it, like, I said last two semesters

8    at school was -- I broke down because I was having such a

9    hard time.

10               So I constantly worried about even if I'd be able

11   to finish what I'm doing.      I want to think I have more to

12   give this world, you know, and that I'm not just so messed

13   up mentally that I can give back.

14               But, yeah, it's -- the mental is probably the

15   hardest thing to deal with.

16         Q     Sergeant Lemon, were you ever suicidal?

17         A     Yeah.

18               No.   I used to -- I was way suicidal.       I used to

19   fall asleep with a gun on my chest.        I used to -- I'm not --

20   I wouldn't say I'm suicidal anymore.        But I definitely have

21   thoughts that death would be better or easier, you know.            I

22   wouldn't have to -- I wouldn't have to deal with this any of

23   this anymore.

24               It was -- I don't know.      It's -- I struggle still.

25         Q     You mentioned just now you're still struggling.
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1    Do you think you'll ever make a full recovery from this

2    attack?

3           A    No.

4           Q    And why not?

5           A    For one, they can't regrow arms.

6                For two, it's just -- you can't take away -- you

7    can't go to war and then not have it affect you.          Even if --

8    even if, like, physically you make it out of war, like,

9    perfect, it's still -- it's still -- it's in your head.             It

10   affects you mentally.

11               And, like, before I joined, I used to -- I watched

12   Black Hawk Down quite a bit.       I mean, it was -- I don't know

13   if I'm just a typical guy, you know.        But in that movie,

14   they have a quote in the very beginning that says, "Only the

15   dead have seen the end of war."

16               And I didn't -- I didn't understand that quote

17   until now, like.     We might be out of Afghanistan and we

18   might not be in Afghan -- like, that's no longer a war

19   anymore, but every day I wake up, I'm still in that war.

20               I still deal with it.     It's still in my mind.

21   I still see it, and it will never end up until the day I do

22   die.

23          Q    Sergeant Lemon, what's been the impact of this

24   attack on the relationship you have with your family?

25          A    It's been hard.    It's been really hard.
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1                 My dad, like, when he would come into my room at

2    Walter Reed, first time he comes in, like, as soon as he

3    comes in and as soon as he sees me, he just started crying.

4                 And I can understand.    I'm a dad.    You know what I

5    mean?     You don't want things bad to happen to your kids.

6    But at that time in my life, like, I was so devastated and

7    so broken that, like, I needed strength.         I couldn't have

8    people crying at the sight of me.        Like, am I really that

9    messed up to where it's like, it makes you cry?          You know,

10   I didn't need that.      I didn't want that.

11                So I used to kick him out of my room back then,

12   and I feel bad about that.       And I don't know if that has

13   affected me and my dad's relationship, but we -- we

14   definitely butt heads now quite a bit.         And I think I have

15   anger issues and just a bunch of issues that arrived from

16   losing my dominant arm, losing my passion, losing my --

17   my -- like who I was.

18                And those tend to come out in dealing with my

19   loved ones, my brothers, my mom and dad, my wife.

20                I don't really want to say my kids, but maybe even

21   them, too.

22         Q      Sergeant Lemon, you mentioned earlier that you

23   were married at the time of this second combat deployment.

24   Are you still married to that person?

25         A      No.   She -- after I got my arm amputated, she left
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1    me.   We ended up getting divorced.

2          Q     And where were you at this time?

3          A     Where?

4          Q     Where were you at this time?

5          A     I was in Walter Reed.      She left me at Walter Reed.

6                MR. RUCK:    Thank you, Sergeant Lemon.

7                I have no further questions at this time.

8                THE COURT:    All right.

9                Sergeant Lemon, thank you very much for coming and

10   providing this moving testimony.        I really appreciate it.

11   Thank you.

12               THE WITNESS:    You're welcome.

13               THE COURT:    That's going to be it for today?

14               MR. BRANSON:    Yes, Your Honor, I think so.

15               THE COURT:    All right.    So we will resume at 9:00

16   tomorrow morning.

17               MR. BRANSON:    Well, Your Honor, that's up to you.

18               I think that we're going --

19               THE COURT:    You tell me what you need, and I'll

20   tell you what you can have.

21               MR. BRANSON:    Well, I think if you're okay

22   starting at 9:30, Mr. -- I think that will give us plenty of

23   time for our three witnesses tomorrow.

24               THE COURT:    All right.

25               Then we will start at 9:30 and have plenty of
     Case 1:18-cv-02065-JDB Document 53 Filed 10/20/21 Page 120 of 143

                                                                         245

1    time.

2                MR. BRANSON:    Thank you.

3                THE COURT:    All right.    I'm sure Mr. Bradley

4    appreciates it very much.

5                COURTROOM DEPUTY:     I do.

6                MR. BRANSON:    I was looking at him when I said it.

7                THE COURT:    All right.    We will see you at 9:30

8    tomorrow morning.

9                Thank you.

10               COURTROOM DEPUTY:     All rise.

11               (Proceedings concluded at 4:20 p.m.)

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                       C E R T I F I C A T E
                 I, William P. Zaremba, RMR, CRR, certify that
the foregoing is a correct transcript from the record of
proceedings in the above-titled matter.




Date:__October 18, 2021_____ /S/__William P. Zaremba______
                                   William P. Zaremba, RMR, CRR
                                                                                                                           247

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